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                                                                                          Exhibit 1
                                                   ❑   The Guardian Life Insurance
                                                       Company of America

                                                  El Berkshire Life
                                                     Insurance Company of America
                                                     700 South Street
                                                     Pittsfield, MA 01201                                         DUPLICATE/SPECIMEN POLICY DISCLAIMER
                                                    Please check the appropriate company(ies). Any insurer checked above is herein referred to as the "Company:'

                        Berkshire Life Insurance Company of America is a wholly owned stock subsidialy ofand an administrator for The Guardian Life Insurance Company of America, New York, NY




                This policy is a duplicate of the original policy, No. Z4163390                                           , dated April 27. 2019                        , with the following
                exceptions.

                 1. The typestyle and location of information in certain portions of this policy may be different from the originally issued
                    policy.

                 2. The signatures of any company officers which appear on the duplicate policy may differ from those on the original
                    policy if at the time the duplicate policy was produced, those company officers were not the same as when the original
                    policy was issued.

                 3. The address of the company home office may be different from that on the original policy.




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                                                           Berkshire Life Insurance Company of America
                                                           700 South Street • Pittsfield, Massachusetts 01201
                                                                           1-800-819-2468

                                                                   Disability Income Policy
                                                                      Non-Participating


                                         This Policy, issued by Berkshire Life Insurance Company of America,
                                      provides insurance to the extent set out in the Policy. AU of the provisions on
                                                  this page and pages that follow are part of the Policy.




                                                                                           6    -f-te, eir)- s.-0„.e.;44.-ovrene—.


                                                      Secretary                                             President



                                                 NONCANCELLABLE AND GUARANTEED RENEWABLE
                                                          TO THE EXPIRATION DATE
                                           The Policyowner may renew the Policy at the end of each Premium Term until the
                                         Expiration Date. During that time, We cannot change the premium or cancel the Policy.

                                                      CONDITIONAL RIGHT TO RENEW AFTER THE
                                                      EXPIRATION DATE—PREMIUMS CAN CHANGE
                                         After the Expiration Date, the Policyowner may conditionally renew the Policy on each
        N                               Policy Anniversary, if You are not Disabled, You are Gainfully Employed Full Time for at
                                                     least ten months each year, the premium is paid on time, and
                                                            the Policy is in force up to the Expiration Date.

                                          The premium at each renewal will be based on Our premium rates in effect for Your
                                            Age, gender, Class of Risk, Occupation Class, any special class rating under the
                                         Policy, and other factors We are using on a class basis at that time. We have the right to
                                         change such premiums on a class basis on any Policy Anniversary. We will provide at
                                                       least 45 days' written notice of any change in such premiums.

                                          IMPORTANT INFORMATION — Please read the provisions entitled
                                       Pre-existing Condition Limitation on page 11 and Conditional Renewal
                                                       after the Expiration Date on page 13.
                                               THIS POLICY IS NOT A MEDICARE SUPPLEMENT POLICY.
                                          If you are eligible for Medicare, review the Guide to Health Insurance for People with
                                                               Medicare, which is available from the Company.

                                                    NOTICE OF TEN-DAY RIGHT TO EXAMINE POLICY
                                       Please read the Policy carefully. It is a legal contract between the Policyowner and Us. The
                                        Policy may be returned to Us or to the representative through whom it was bought within
                                       ten days from the date the Policy was received. Immediately upon such delivery or mailing,
                                         the Policy will be void from the beginning, and any premium paid for it will be refunded.

                                    DUPLICATE POLICY
                                        02/25/2021
                                                                Beikshire Life Insurance Company ofAmerica
                                                                    is a wholly owned stock subsidiary of
                       181D NC                         The Guardian Life Insurance Company ofAmerica, New York, NY      GUARDIAN'
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                                                     Berkshire Life Insurance Company of America, Pittsfield, MA

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                   Insured:     ANNA F SCHUBERT                                                         Policy Number:                  Z4163390
                   Policyowner: ANNA F SCHUBERT                                                         Policy Date:                 April 27, 2019
                   Loss Payee: ANNA F SCHUBERT


                                                                  Policy Specifications for the Insured

                     Class of Risk:                                          Select      Gender:                                             Female
                     Occupation Class:                                          3M       Premium Term:                                       Annual


                                             Disability Income Insurance Policy Coverage and Premium Summary

                                                                                                              Benefit                    Annual
                     Coverage                                                                                 Amount                    Premium

                    Disability Income Insurance Policy                                                            $6,500                $2,085.20
                    Future Increase Option Rider                    Total Increase Option: $13,500                                        $584.55
                     Enhanced Partial Disability Benefit Rider                                                                           $368.55

                     3% Compound Cost of Living Adjustment Rider                                                                         $354.90
                     Student Loan Protection Rider
                                           Student Loan Protection Maximum Monthly Benefit:                       $2,500                 $510.00
        0
        rn           Serious Illness Supplemental Benefit Endorsement                                                                 No Charge
        Cr)

                     Occupational Rehabilitation, Modification and Access Benefits Endorsement                                        No Charge
        N


                     Annual premium before discounts and policy fee:                                              $9,000                $3,903.20

                                    ktp_Rlicable PolicPiscount                                               Discount Percent
                                    24 Month Mental and/or Substance-Related Disorders Limitation Discount         10.00%
                                    Select Risk Class Discount                                                     25.00%
                    Discounted Annual Premium before policy fee:                                                                        $2,634.66

                     Annual Policy Fee:                                                                                                    $30.00

                     Annual Premium after discounts and including policy fee:                                                           $2,664.66

                     The Policy is issued with the Graded premium payment option. The initial level premium period will be to Age 30. Refer to
                     "Your Premium Schedule" for a schedule of premiums.
                     The Policy is issued with a True Own Occupation definition of Total Disability.




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                                                     Berkshire Life Insurance Company of America, Pittsfield, MA

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                   Insured:     ANNA F SCHUBERT                                                         Policy Number:                 Z4163390
                   Policyowner: ANNA F SCHUBERT                                                         Policy Date:                April 27, 2019
                   Loss Payee: ANNA F SCHUBERT


                                                                           About the Premiums

                     The premiums for the Policy are based on gender distinct rates.

                    If the Policyowner elects to increase, decrease or change Coverage, the Policy premium may change. A new Schedule Page
                    will be provided.

                     The following summarizes the premium for each Premium Term option during the initial level premium period for the
                     Coverage selected.

                    For a Semiannual Premium Term:

                                    A premium of $1,372.30 must be paid every 6 months. This means an additional $79.94 or 3.00% will be
                                    paid per year, or a total annualized premium of $2,744.60.

                    For a Quarterly Premium Term:

                                    A premium of $699.87 must be paid every 3 months. This means an additional $134.82 or 5.06% will be
                                    paid per year, or a total annualized premium of $2,799.48.

                    For a Monthly Premium Term:

                                    A premium of $228.71 must be paid every month. This means an additional $79.86 or 3.00% will be paid
                                    per year, or a total annualized premium of $2,744.52.

                    For a Monthly Premium Term using Automatic Bank Draft (Guard-O-Matic):

                                    A premium of $228.71 must be paid every month. This means an additional $79.86 or 3.00% will be paid
                                    per year, or a total annualized premium of $2,744.52.

                    The additional charge, if any, that is added for paying premium more frequently than on an annual basis will remain the same
                    until the end of the level premium period.




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                   Insured:     ANNA F SCHUBERT                                                        Policy Number:                   Z4163390
                   Policyowner: ANNA F SCHUBERT                                                        Policy Date:                  April 27, 2019
                   Loss Payee: ANNA F SCHUBERT

                                                      Right to Convert to a Level Premium Payment Option
                     You have the right to apply to convert to a level premium payment option on any Policy Anniversary until Age 50. You are
                     not eligible to convert if You are Disabled or benefits under the Policy are being paid. If you convert, Your new premium
                     will be based upon the following factors:

                              •      Your Age on the date You convert to a level premium payment option; and
                              •      The Class of Risk and the Occupation Class of the Policy; and
                              •      Any special class rating that applies to the Policy: and
                              •      The Coverage provided by the Policy.

                    If You convert to a level premium payment option, a new Schedule Page will be issued to You.


                                                                       About the Policy Coverage
                                                                                                                                       Current Year
                             Issue             Monthly           Elimination      Accumulation       Benefit         Expiration          Annual
                              Age              Benefit              Period           Period          Period.            Date            Premium
                               29              $6,500             180 Days          360 Days        To Age 67        04/27/2057         $2,085.20

        o
                                                        Student Loan Protection Rider Coverage Summary
        01
        o
        7r                                      Student Loan            Student Loan          Student Loan       Student Loan
        N                                        Protection              Protection            Protection         Protection          Current Year
                               Issue             Maximum                 Elimination          Accumulation       Termination            Annual
                                Age            Monthly.Benefit             Period                Period              Date              Premium
                                 29                $2,500                 180 Days              360 Days          04/27/2029            $510.00



                                                    Enhanced Partial Disability Benefit Rider Coverage Summary
                                                                                                                            Current Year
                                            Issue                                 Rider Effective                             Annual
                                             Age                                      Date                                   Premium
                                              29                                   04/27/2019                                 $368.55


                                             3% Compound Cost of Living Adjustment Rider Coverage Summary
                                                                                                                            Current Year
                                            Issue                                 Rider Effective                             Annual
                                             Age                                      Date                                   Premium
                                             29                                    04/27/2019                                 $354.90




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                   Insured:     ANNA F SCHUBERT                                                         Policy Number:                  Z4163390
                   Policyowner: ANNA F SCHUBERT                                                         Policy Date:                 April 27, 2019
                   Loss Payee: ANNA F SCHUBERT

                                                  Mental and/or Substance-Related Disorders Benefit Limitation
                     Benefits We pay for a Disability caused by, contributed to by, or which results from, a Mental and/or Substance-Related
                     Disorder are limited to 24 months during Your lifetime.

                     After We have paid benefits for a Disability caused by, contributed to by, or which results from, a Mental and/or
                     Substance-Related Disorder for 24 months during Your lifetime, We will not pay benefits for a Disability caused by,
                     contributed to by, or which results from, a Mental and/or Substance-Related Disorder unless You are:
                        • continuously confined in a Hospital for treatment of a Disability caused by, contributed to by, or which results from,
                            a Mental and/or Substance-Related Disorder; and
                        • under the regular care of a Physician.

                     Under no circumstance will We pay benefits for a Disability caused by, contributed to by, or which results from, a Mental
                     and/or Substance-Related Disorder that We have excluded by name or description.


                                                                       About the Policy Benefit Period

                     The Benefit Period for the Policy meets the federal guidelines for nondiscrimination in employment because of age.
                     For a To Age 67 Benefit Period:

                                    If Disability begins                                                                The Benefit Period is
                                    Prior to age 60                                                                              To Age 67
                                    At or after age 60, but before   age 61                                                      84 months
                                    At or after age 61, but before   age 62                                                      72 months
                                    At or after age 62, but before   age 63                                                      60 months
                                    At or after age 63, but before   age 64                                                      48 months
                                    At or after age 64, but before   age 65                                                      36 months
                                    At or after age 65, but before   age 75                                                      24 months
                                    At or after age 75                                                                           12 months




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                   Insured:     ANNA F SCHUBERT                                                  Policy Number:                 Z4163390
                   Policyowner: ANNA F SCHUBERT                                                  Policy Date:                April 27, 2019
                   Loss Payee: ANNA F SCHUBERT


                                                                   Your Premium Schedule
                      You have selected the graded premium option. The initial level premium period will be to Age 30. The premiums in the
                      following table are Your guaranteed annual premiums based upon Your current Age.

                                              Disability                   Total                                               Total
                                              Income                     Premium                     Total                  Discounted
                                             Insurance                    For All                Guaranteed                 Guaranteed
                                               Policy                     Riders                    Annual                    Annual
                             iNgq             Premium                   Combined                  Premium*                  Premium *
                              29             $2,085.20                  $1,818.00                 $3,933.20                  $2,664.66
                              30             $2,349.75                  $1,989. 10                $4,368.85                  $2,958.73
                              31             $2,665.65                  $2,194.55                 $4,890.20                  $3,310.64
                              32             $2,916.55                  $2,355.75                 $5,302.30                  $3,588.81
                              33             $3,105.70                  $2,487.80                 $5,623.50                  $3,805.62
                              34             $3,296.80                  $2,614.65                 $5,941.45                  $4,020.23
                              35             $3,499.60                  $2,755.90                 $6,285.50                  $4,252.47
                              36             $3,744.00                  $2,935.45                 $6,709.45                  $4,538.63
                              37             $4,043.65                  $3, 145.35                $7,219.00                  $4,882.58
                              38             $4,404.40                  $3,409.35                 $7,843.75                  $5,304.28
                              39             $4,825.60                  $3,199.70                 $8,055.30                  $5,447.08
                              40             $5,276.70                  $3,534.95                 $8,841.65                  $5,977.87
                              41             $5,774.60                  $3,827.90                 $9,632.50                  $6,51 1.69
                              42             $6,269.25                  $4,135.30                $10,434.55                  $7,053.07
                              43             $6,780.15                  $4,459.05                $1 1,269.20                 $7,616.46
                              44             $6,967.35                  $4,578.65                $1 1,576.00                 $7,823.55
                              45             $7,218.25                  $4,752.35                $12,000.60                  $8, 1 10.16
                              46             $7,400.90                  $4,856.90                $12,287.80                  $8,304.02
                              47             $7,583.55                  $5,034.00                $12,647.55                  $8,546.84
                              48             $7,906.60                  $5,247.35                $13,183.95                  $8,908.91
                              49             $8,234.85                  $5,462.10                $13,726.95                  $9,275.44
                              50             $8,560.50                  $5,688.55                $14,279.05                  $9,648.1 1
                              51             $8,741.85                  $5,896.40                $14,668.25                  $9,910.82
                              52             $8,887.45                  $6,091.70                $15,009.15                 $10,140.92
                              53             $9,032.40                  $6,295.35                $15,357.75                 $10,376.23
                              54             $9,181.90                  $6,507.00                $15,718.90                 $10,620.01
                              55             $9,334.00                  $3,965.65                $13,329.65                  $9,007.27
                              56             $9,601.15                  $4,009.20                $13,640.35                  $9,216.98
                              57             $9,976.20                  $4,101.50                $14,107.70                  $9,532.45
                              58            $10,305.75                  $4,173.65                $14,509.40                  $9,803.60


                                                                                                       Continued — More Premiums to Follow

                   *Total premiums include an annual policy fee.


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                   Insured:     ANNA F SCHUBERT                                                  Policy Number:                 Z4163390
                   Policyowner: ANNA F SCHUBERT                                                  Policy Date:                April 27, 2019
                   Loss Payee: ANNA F SCHUBERT

                                             Disability                   Total                                                Total
                                               Income                   Premium                       Total                 Discounted
                                             Insurance                   For All                  Guaranteed                Guaranteed
                                                Policy                   Riders                      Annual                   Annual
                             Age              Premium                   Combined                   Premiurn *               Premium *
                             59             $10,634.65                  $4,214.60                 $14,879.25                $10,053.25
                             60             $10,964.20                  $4,260.10                 $15,254.30                $10,306.41
                             61             $1 1,293.75                 $4,260. 10                $15,583.85                $10,528.85
                             62             $1 1,622.00                 $4,260.10                 $15,912.10                $10,750.42
                             63             $1 1,834.55                 $4,260.10                 $16, 124.65               $10,893.89
                             64             $12,281. 10                 $4,260.10                 $16,571.20                $1 1,195.31
                             65             $12,608.05                  $4,260.10                 $16,898.15                $1 1,416.00
                             66             $12,938.90                  $4,260.10                 $17,229.00                $1 1,639.33

                    A change in Coverage may result in a change in premium, and a new Schedule Page will be provided to you. The premium
                    for each rider is shown on the next page.




                    *Total premiums include an annual policy fee.


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                   Insured:     ANNA F SCHUBERT                                                    Policy Number:                  Z4163390
                   Policyowner: ANNA F SCHUBERT                                                    Policy Date:                 April 27, 2019
                   Loss Payee: ANNA F SCHUBERT



                                                   Enhanced      3% Compound                            Total
                                     Future         Partial         Cost of                          Premium
                                    Increase       Disability        Living       Student Loan         For All
                                     Option         Benefit       Adjustment       Protection          Riders
                       Age            Rider         Rider            Rider           Rider           Combined
                       29             $584.55        $368.55         $354.90            $510.00       $1,818.00
                        30            $658.80        $416.00         $404.30            $510.00       $1,989.10
                        3I            $747.90        $475. 15        $461.50            $510.00       $2,194.55
                        32            $818.10        $521.95         $505.70            $510.00       $2,355.75
                        33            $873.45        $561.60         $542.75            $510.00      $2,487.80
                        34            $928.80        $598.00         $577.85            $510.00      $2,614.65
                        35            $986.85        $641.55         $617.50            $510.00      $2,755.90
                        36          $1,061. 10       $694.85         $669.50            $510.00      $2,935.45
                        37          $1,147.50        $759.20         $728.65            $510.00      $3,145.35
                        38          $1,255.50        $839.15         $804.70            $510.00      $3,409.35
                       39           $1,379.70        $930. 15        $889.85                         $3,199.70
       0               40           $1,516.05      $1,031.55         $987.35                         $3,534.95
       rn
       co              41           $1,651.05      $1,124.50       $1,052.35                         $3,827.90
                       42           $1,790.10      $1,222.00       $1,123.20                         $4,135.30
       N               43           $1,931.85      $1,331.85       $1,195.35                         $4,459.05
                       44           $1,984.50      $1,382.55       $1,21 1.60                        $4,578.65
                       45           $2,058.75      $1,448.85       $1,244.75                         $4,752.35
                       46           $2,108.70      $1,480.70       $1,267.50                         $4,856.90
                       47           $2,169.45      $1,574.30       $1,290.25                         $5,034.00
                       48           $2,261.25      $1,670.50       $1,315.60                         $5,247.35
                       49           $2,355.75      $1,769.30       $1,337.05                         $5,462.10
                       50           $2,450.25      $1,877.20       $1,361.10                         $5,688.55
                       51           $2,516.40      $1,993.55       $1,386.45                         $5,896.40
                       52           $2,577.15      $2,102.75       $1,41 1.80                        $6,091.70
                       53           $2,635.20      $2,223.00       $1,437.15                         $6,295.35
                       54           $2,698.65      $2,348.45       $1,459.90                         $6,507.00
                       55                          $2,477.80       $1,487.85                         $3,965.65
                       56                          $2,594.80       $1,414.40                         $4,009.20
                       57                          $2,744.30       $1,357.20                         $4,101.50
                       58                          $2,878.20       $1,295.45                         $4,173.65
                       59                          $2,995.20       $1,219.40                         $4,214.60
                       60                          $3,108.95       $1,151.15                         $4,260.10

                                         Continued - More Premiums to Follow



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                   Insured:     ANNA F SCHUBERT                                                  Policy Number:                 Z4163390
                   Policyowner: ANNA F SCHUBERT                                                  Policy Date:                April 27, 2019
                   Loss Payee: ANNA F SCHUBERT


                                                 Enhanced      3% Compound                            Total
                                     Future       Partial         Cost of                          Premium
                                    Increase     Disability        Living        Student Loan        For All
                                     Option       Benefit       Adjustment        Protection         Riders
                       A,ge           Rider       .Ridpr.          Rider            Rider          Combined
                        61                       $3,108.95        $1,151.15                         $4,260.10
                         62                       $3,108.95       $1,151.15                         $4,260.10
                         63                       $3,108.95       $1,151. 15                        $4,260.10
                         64                       $3,108.95       $1,151.15                         $4,260.10
                         65                       $3,108.95       $1,151.15                         $4,260.10
                         66                       $3,108.95       $1,151.15                         $4,260.10




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                         Additional Coverage, if any, is shown in the Schedule Page and is described in the rider forms attached to the Policy.
                         Please call Berkshire Life Insurance Company of America at 1-800-819-2468 with any questions about the Policy.


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                                                                           DEFINITIONS

                       Accumulation Period
                       The Accumulation Period is shown in the Schedule Page. It is an uninterrupted period of consecutive days that
                       begins on the first day that You are Disabled and during which the Elimination Period must be satisfied.

                       Age
                       Age means Your age as of the Policy Anniversary that first occurs on or after the birthday on which You attain that
                       age.

                       Benefit Period
                       Benefit Period is the longest period of time for which We will pay benefits for a continuous Disability. The Benefit
                       Period is shown in the Schedule Page.
                       Class of Risk
                       Class of Risk means the classification We select based on certain risk factors. It is shown in the Schedule Page.

                       Coverage
                       Coverage means the benefits available under the Policy.

                       Disability or Disabled
                       Disability means Total Disability. Disabled means Totally Disabled.

                       Effective Date
                       Effective Date means the date the Policy, or a rider; takes effect, in accordance with the Representations of the
                       Proposed Insured and Owner section in the application.

                       Elimination Period
                       Elimination Period is the number of days You must be Disabled before benefits begin to accrue and starts on the
                       first day that You are Disabled. The days within this period need not be consecutive, but they must occur within the
                       Accumulation Period. Benefits will not accrue or be payable during the Elimination Period. The Elimination Period is
                       shown in the Schedule Page.

                       Expiration Date
                       Expiration Date means the date on which Coverage ends, if the Policy has not previously terminated. The Expiration
                       Date is shown in the Schedule Page.

                       Full Time
                       Full Time means at least 30 hours each week.

                       Gainfully Employed or Gainful Employment
                       Gainfully Employed or Gainful Employment means actively at work or engaged in activities for Income,
                       remuneration; or profit.

                       Hospital
                       Hospital means a facility or institution legally operating as a hospital that:
                          • is mainly engaged in providing inpatient care and treatment of sick or injured persons, and routinely
                               makes a charge for such care; and
                          • is supervised by a staff of physicians on the premises; and
                          • provides 24-hour nursing services on the premises by registered nurses.

                       In no event will Hospital include any facility or institution that is:
                           • operated as a rest home, a convalescent facility, or a long-term nursing care facility; or
                           • mainly for the care of the elderly, or which primarily provides custodial or educational care.




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                       Income
                       Income means:
                           • the compensation that You receive, or which is attributable to You, for work or personal services; and
                           • the income that You receive, or which is attributable to You, from a privately held business in which You
                              have an ownership interest. This amount is determined after deduction of normal and customary
                              unreimbursable Business Expenses, but before any other deductions, including, but not limited to, any
                              deduction of Your personal income taxes.

                       Income includes; but is not limited to, salaries, wages, fees, commissions, bonuses, pension and/or profit sharing
                       contributions, other payments for work or personal services, and business profits. Income also includes Unearned
                       Income if the Unearned Income is the result of Your work or personal services. In all other cases, Income does not
                       include Unearned Income.
                              UnearnedIncome includes income from dividends, capital gains, interest (including tax exempt interest),
                              rentals, royalties, alimony, investments; business interests as an inactive owner, and income received from
                              deferred compensation plans, formal sick pay plans, retirement plans, or disability income policies.
                             Prior Income means Your average monthly Income for either the last 24 calendar months just prior to the date
                             on which You became Disabled, or for the two calendar years with the highest earnings in the three calendar
                             years just prior to the date on which You became Disabled, whichever is greater.
                              Current Income means all Income for each month during a period of Disability. Current Income does not
                              include Income received for work or personal services provided prior to the start of Disability. For the purpose of
                              determining Current Income, Business Expenses may not exceed Prior Business Expenses.
                              Business Expenses means the normal and customary business expenses that may be deducted from gross
                              earned income for federal tax purposes for the period in which Income is being determined.
                             Prior Business Expenses means Your average monthly Business Expenses for the same period in which Your
                             Prior Income is determined.
        0
        cy)                  Loss ofIncome means the difference between Your Prior Income and Your Current Income. This difference will
                             be considered a Loss of Income to the extent it is solely the result of the Injury or Sickness that caused Your
                             Disability.
        N
                       Injury
                       Injury means accidental bodily injury that first occurs on or after the Effective Date and while the Policy is in force,
                       and that is not contributed to by Sickness.
                       Issue Age
                       Issue Age is shown in the Schedule Page. It is Your age on the Policy Date.
                       Loss Payee
                       Loss Payee, named in the Schedule Page, is the person or entity to whom We will pay benefits.
                       Mental and/or Substance-Related Disorders
                       Mental and/or Substance-Related Disorders means any disorder classified in the Diagnostic and Statistical Manual
                       of Mental Disorders (DSM). This includes, but is not limited to, psychiatric, psychological, emotional, or behavioral
                       disorders; or disorders related to stress or to substance abuse or dependency, or any biological or biochemical
                       disorder or imbalance of the brain; regardless of the cause, including any complications thereof. This does not
                       include dementia or cognitive impairment resulting from stroke, physical trauma, infection, or a form of senility or
                       irreversible dementia such as Alzheimer's Disease.
                             Diagnostic and Statistical Manual ofMentalDisorders or DSM means the most recent version of the
                             diagnostic manual as published by the American Psychiatric Association (APA) as of the start of Your Disability.
                             If the DSM is discontinued, We will use the replacement chosen by the APA, or by an organization which
                             succeeds it.

                       Monthly Benefit
                       Monthly Benefit is the amount We will pay for each month of Total Disability. It is shown in the Schedule Page.



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                       Occupation Class
                       Occupation Class means the classification We select based on occupational risk. It is shown in the Schedule Page.

                       Physician
                       Physician means a person who is licensed by law in the state in which he or she practices as a Medical Doctor or
                       Doctor of Osteopathy and is acting within the scope of that license to treat Injury or Sickness that results in a
                       Disability. A Physician cannot be:
                           • You and/or the Policyowner; or
                           • anyone related to You and/or the Policyowner by blood or marriage; or
                           • a member of Your and/or the Policyowner's household; or
                           • Your and/or the Policyowner's business or professional partner, employee or employer; or
                           • any person who has a financial affiliation or business interest with You and/or the Policyowner.

                       If Your Disability is due to a Mental and/or Substance-Related Disorder, the Physician must be a licensed
                       psychiatrist or a licensed doctoral level psychologist.

                       Policy
                       Policy means the legal contract between the Policyowner and Us. The entire contract consists of the Policy, any
                       application(s), Schedule Pages; and any attached riders, amendments; and endorsements.

                       Policyowner
                       Policyowner is the person or entity named as Policyowner in the Schedule Page. The Policyowner has the right to
                       renew the Policy, to request a change in Coverage, to change the Loss Payee, and to make other Policy changes.

                       Policy Anniversary
                       Policy Anniversary is the yearly anniversary of the Policy Date while the Policy remains in force.

                       Policy Date
                       The Policy Date is the date from which premiums are calculated and become due. It is shown in the Schedule
                       Page.

                       Pre-existing Condition
                       Pre-existing Condition means a physical or mental condition for which medical advice, diagnosis, care, or treatment
                       was received or recommended within the 24-month period immediately preceding the Effective Date.

                       Premium Term
                       Premium Term is shown in the Schedule Page. It is the frequency of premium payments.

                       Sickness
                       Sickness means an illness or disease that first manifests itself on or after the Effective Date and while the Policy is in
                       force.




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                       Total Disability or Totally Disabled
                       Total Disability or Totally Disabled means that, solely due to Injury or Sickness, You are not able to perform the
                       material and substantial duties of Your Occupation. You will be Totally Disabled even if You are Gainfully
                       Employed in another occupation so long as, solely due to Injury or Sickness, You are not able to work in Your
                       Occupation.

                       If Your Occupation is limited to a Medical Doctor or Doctor of Osteopathy and more than 50% of Income is earned
                       from Hands-on Patient Care, We will consider You to be Totally Disabled even if You are Gainfully Employed in
                       Your practice or another occupation so long as, solely due to Injury or Sickness, You are not able to provide
                       Hands-on Patient Care.

                                    Hands-on Patient Care means meeting with a patient in a clinical setting for the purposes of providing
                                    medical advice, evaluation, diagnosis, or treatment, that You regularly and personally provide, during the
                                    12 months prior to Your Disability.

                       If Your Occupation is limited to a Medical Doctor or Doctor of Osteopathy and more than 50% of Income is earned
                       from performing Surgical Procedures; We will consider You to be Totally Disabled even if You are Gainfully
                       Employed in Your practice or another occupation so long as, solely due to Injury or Sickness, You are not able to
                       perform Surgical Procedures.

                                    Surgical Procedures means the medical interventions involving an incision with instruments performed
                                    by You in a clinical or hospital setting normally involving anesthesia and/or respiratory assistance, that
                                    You regularly perform, during the 12 months prior to Your Disability. These procedures can be performed
                                    on either an inpatient or outpatient basis. Providing hypodermic injections; in itself, is not a Surgical
                                    Procedure.

                       Working an average of more than 40 hours in a week, in itself, is not a material and substantial duty.

                       We, Us, Our and Berkshire Life
        rn             We, Us, Our, and Berkshire Life mean Berkshire Life Insurance Company of America.

                       You and Your
        N              You and Your mean the person named as the insured in the Schedule Page of the Policy.

                       Your Occupation
                       Your Occupation means the occupation (or occupations, if more than one) in which You are Gainfully Employed
                       during the 12 months prior to the time You become Disabled. Your Occupation does not mean a specific job title,
                       designation, industry, or job with a certain employer.




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                                                             PROVISIONS RELATING TO BENEFITS

                       Total Disability Benefit
                       When You are Totally Disabled, the Monthly Benefit is paid as follows:
                          • You must become Totally Disabled while the Policy is in force.
                          • You must satisfy the Elimination Period.
                          • After You have satisfied the Elimination Period, the Monthly Benefit will be payable at the end of each month
                               while You remain Totally Disabled.
                          • The Monthly Benefit will stop at the end of the Benefit Period or on the date You are no longer Totally
                               Disabled, if earlier.

                       We will not increase the Monthly Benefit because You are Totally Disabled from more than one cause at the same
                       time.

                       Medical Care Requirement
                       We will neither pay benefits nor waive premium under the Policy for any period of Disability during which You are not
                       under a Physician's regular care that is appropriate, according to prevailing medical standards, for the conditions
                       causing Disability. Appropriate care includes a plan between You and Your Physician that addresses Your goals for
                       treatment and recovery, coordinates care among all Physicians involved in the treatment of the conditions causing
                       Disability, and addresses Your functional status. The medical care must be provided by Physicians whose
                       specialties are appropriate for Your Injury or Sickness causing Disability. You have the responsibility to obtain, and
                       reasonably participate in, Your appropriate medical plan of care.

                       We will waive the medical care requirement during any claim under the Policy upon reasonable written proof that
                       Your Injury or Sickness no longer requires the regular medical care of a Physician under prevailing medical
                       standards. Such waiver will not restrict any of Our rights under the Policy.

                       Presumptive Total Disability Benefit
                       We will consider You to be Totally Disabled even if You are Gainfully Employed if, while the Policy is in force, Injury
                       or Sickness results in Your total and complete loss of:
                           • sight in both eyes;
                           • hearing in both ears;
                           • speech; or
                           • the use, in their entirety, of both hands, both feet, or one hand and one foot.

                       We will then waive the unexpired portion of the Elimination Period and benefits will start to accrue from the date of
                       Your Total Disability. The Monthly Benefit will be paid for as long as Your Total Disability continues, but not longer
                       than the Benefit Period.

                       Fractional Month
                       If You are Disabled for less than a full month, We will pay 1/30 of the monthly benefit payable under the Policy for
                       each day You are Disabled.

                       Concurrent Disability
                       A concurrent Disability is a Disability that is caused by more than one Injury and/or Sickness. Once a period of
                       Disability begins, We will consider it to be one continuous period of Disability no matter what Injury or Sickness, or
                       combination thereof, caused the Disability or caused it to continue. We will pay benefits for a concurrent Disability
                       as if there were only one Injury or Sickness. In all cases, the amount and duration of benefits for a concurrent
                       Disability will not be more than the maximum for any one Disability.

                       Recurrent Disability
                       A recurrent Disability is a Disability that is determined to be a continuation of a previous Disability. If We
                       determine Your Disability to be a recurrent Disability, Your prior claim for Disability will resume and no new
                       Elimination Period will be required. All terms and conditions of the Policy must be satisfied. We will deem Your
                       Disability to be a recurrent Disability, if:
                           • after the previous Disability ends, You have returned to Gainful Employment Full Time for less than 12
                                months; and


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                             •      the Disability results entirely or in part from the same cause or causes as the previous Disability; and
                             •      benefits were received under the Policy for the previous Disability.

                       If a Disability is determined not to be a recurrent Disability, then it will be considered a new and separate
                       Disability.

                       New Benefit Period
                       If the Benefit Period is 2 Years, 5 Years, or 10 Years, and You continue to be Disabled after the Benefit Period
                       has ended, You will not be eligible for a new 2 Years, 5 Years, or 10 Years Benefit Period unless:
                            • Your Disability ends; and
                            • You return to Gainful Employment Full Time; and
                            • the Policy remains in force; and
                            • all terms and conditions of the Policy are satisfied.

                       Waiver of Elimination Period
                       We will waive the Elimination Period if:
                          • You become Disabled within five years after the end of a previous Disability; and
                          • the previous Disability lasted more than six months; and
                          • We paid benefits under the Policy for the previous Disability; and
                          • You remain continuously Disabled for at least for 30 days.

                       Transplant and Cosmetic Surgery
                       We will deem You to be Totally Disabled as a result of Sickness if You become Totally Disabled due to:
                          • the transplant of a part of Your body to another person more than six months after the Effective Date, or
                          • complications due to elective cosmetic surgery to improve Your appearance or correct a disfigurement, if the
                              surgery occurs more than six months after the Effective Date.

                       We will not pay benefits for any Disability caused by, contributed to by, or which results from, such transplant or
        0
                       complications due to elective cosmetic surgery that occurs during the first six months after the Effective Date.
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        cr)
                       Waiver of Premium Benefit
        ;7-
        N
                       If You are Disabled for the length of the Elimination Period due to Injury or Sickness not excluded from Coverage:
                           • We will refund that portion of any premium paid that applies to the period of Disability beginning with the
                               date that You were first Disabled in the same claim.
                           • We will then waive any later premium that is due while You are continuously Disabled in the same claim and
                               receiving benefits for the Disability.

                       We will continue to waive premium if You remain continuously Disabled after the end of the Benefit Period and
                       before the Expiration Date. You must notify Us within six months of the date Your Disability ends. The pro rata
                       portion of the premium for the remainder of the current Premium Term must be paid, and all premiums due
                       thereafter must be paid, in order to keep the Policy in force. The Policy will terminate if You fail to notify Us within six
                       months of the date Your Disability ends.

                       We will continue to waive premium for the six-month period after Your Disability ends. At the end of the six-month
                       period, the pro rata portion of the premium for the remainder of the current Premium Term must be paid, and all
                       premium due thereafter must be paid, in order to keep the Policy in force.

                       The Waiver of Premium Benefit will also apply if benefits are payable because You have met the requirements of the
                       Recurrent Disability provision.

                       Nothing in this provision will change the conditions for renewal after the Expiration Date that require You to be
                       Gainfully Employed Full Time for at least ten months each year.

                       If the Expiration Date occurs while premiums are being waived, the Policy will terminate.




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                       Hospice Care Benefit
                       We will consider You to be Totally Disabled if, due to an Injury or Sickness, You are:
                          • under a Physician-ordered plan of care for hospice services; and
                          • receiving hospice services through a member of the National Hospice and Palliative Care Organization.

                       We will then waive the unexpired portion of the Elimination Period and benefits will start to accrue from the date a
                       Physician-ordered plan of care is initiated for hospice services. The Monthly Benefit will be paid for as long as Your
                       Total Disability continues, but not longer than the Benefit Period.

                                                           PROVISIONS RELATING TO SUSPENSION

                       Suspension for Active Military Service
                       The Policy will be suspended on the date You begin active duty in the military of any nation or international
                       authority including, but not limited to the United States Army, Navy, Air Force, Marine Corps, Coast Guard, or
                       National Guard. Active duty does not include training that lasts 90 days or less, or any period of travel preceding a
                       period of active duty.

                       The Policy must be in force and premium must be paid to the date it is suspended. Active duty begins at 12:01
                       a.m. on the date You are obligated to appear for active duty and for which You will be paid for such duty.
                       Acceptance of premium by Us while You are on active duty will not waive the suspension of the Policy. Any
                       premium paid that applies on or after the date it is suspended will be refunded.

                       While the Policy is suspended:
                          • We will neither require premium nor pay benefits under the Policy; and
                          • the Policy will not cover losses that result from Injury or Sickness that occurs or begins while the Policy is
                               suspended; and
                          • no privileges or options under the Policy or any attached riders may be exercised.

                       The suspension of the Policy ends when You are no longer on active duty. On the date We receive a written
                       request to place the Policy back in force and the required pro rata premium, the Policy will be placed back in
                       force. We will not require evidence of insurability. Any such request and premium payment must be received by
                       Us within 90 days after the date Your active duty ends. The Grace Period does not apply. The Policy will
                       terminate if the premium for the Policy remains unpaid for more than 90 days after the suspension ends.

                       If the Policy is placed back in force following a suspension:
                            • premium will be at the same rate that it would have been had the Policy not been suspended.
                            • the Policy will cover only losses that result from Injury that occurs after the date the Policy is placed back in
                                force or Sickness that first manifests itself more than ten days after such date.

                       In all other respects, the Policyowner and We will have the same rights under the Policy as before it was suspended.

                       ►f the Expiration Date occurs while the Policy is suspended, the Policy will terminate.

                       Suspension During Unemployment
                       A suspension of the Policy may be requested if:
                           • You become unemployed; and
                           • You have received at least eight weeks of governmental unemployment benefits; and
                           • the Policy has been in force for at least one year from the Effective Date; and
                           • the Unemployment Waiver of Premium rider is not attached to the Policy.

                       The suspension of the Policy starts on the date We receive:
                          • a written request to suspend the Policy; and
                          • proof that You are unemployed and have received eight weeks of governmental unemployment benefits.

                       The Policy must be in force and premium must be paid to the date it is suspended. Any premium paid that applies
                       on or after the date it is suspended will be refunded.



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                       While the Policy is suspended:
                          • We will neither require premium nor pay benefits under the Policy: and
                          • the Policy will not cover losses that result from Injury or Sickness that occurs or begins while the Policy is
                               suspended; and
                          • no privileges or options under the Policy or any attached riders may be exercised.

                       The suspension will end at the earlier of:
                          • the date We receive a written request to end the suspension of the Policy, subject to proof that You are
                              Gainfully Employed; or
                          • 12 months after the date on which the Policy is suspended.

                       When the suspension of the Policy ends, We will require pro rata premium to place the Policy back in force. The
                       Grace Period does not apply. The Policy will terminate if the premium for the Policy remains unpaid for more than
                       90 days after the suspension ends.

                       If the Policy is placed back in force following a suspension:
                            • premium will be at the same rate that it would have been had the Policy not been suspended.
                            • the Policy will cover only losses that result from Injury that occurs after the date the Policy is placed back in
                                force or Sickness that first manifests itself more than ten days after such date.

                       In all other respects; the Policyowner and We will have the same rights under the Policy as before it was suspended.

                       If the Policy has been suspended by reason of unemployment, the Policy may not be suspended by reason of
                       unemployment again until 48 months have elapsed from the end of the last suspension by reason of
                       unemployment.

                       If the Expiration Date occurs while the Policy is suspended, the Policy will terminate.

        0                                                        EXCLUSIONS AND LIMITATIONS
        cs)
                       Exclusions
        N              We will not pay benefits for any Disability:
                          • caused by, contributed to by, or which results from, military training, military action, military conflict, or war,
                               whether declared or undeclared; while You are serving in the military or a military auxiliary unit, either active
                               or reserve, or working for contracted military services; or
                          • for any period of time in which You are incarcerated or under court-ordered home confinement; or
                          • caused by, contributed to by, or which results from, Your commission of, or attempt to commit, a criminal
                               offense as defined under local, state, or federal law; or
                          • caused by, contributed to by, or which results from, Your being engaged in an illegal occupation or
                               professional misconduct; or
                          • caused by, contributed to by, or which results from, any suspension, revocation, restriction, inactivation,
                               surrender, or the like; of Your professional or occupational license or certification; or
                          • caused by, contributed to by, or which results from, an intentionally self-inflicted injury; or
                          • caused by, contributed to by, or which results from, a normal pregnancy or childbirth until 90 days have
                               elapsed from the date of Disability or the Elimination Period has been satisfied, if later; or
                          • due to any loss We have excluded by name or description.

                       Limitation While Outside the United States or Canada
                       Benefits for Disability will be limited to a total of twelve months during Your lifetime unless You are living full time
                       in the United States or Canada for at least six consecutive months in each calendar year. United States refers to
                       the 50 states that comprise the United States of America and the District of Columbia.

                       If benefits under the Policy have ceased because of this limitation and You return to the United States or Canada,
                       benefits may resume under the Policy if all terms and conditions of the Policy are satisfied.

                       If You continue to reside outside of the United States or Canada, premiums will become due beginning three
                       months after benefits under the Policy have ceased.


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                       Pre-existing Condition Limitation
                       We will not cover any loss that begins in the first two years after the Effective Date from a Pre-existing Condition that
                       was misrepresented or not disclosed in Your application.

                       Mental and/or Substance-Related Disorders Benefit Limitation
                       If the Policy includes a Mental and/or Substance-Related Disorders Benefit Limitation, it is shown in the Schedule
                       Page. Under this limitation, benefits We pay for a Disability caused by, contributed to by, or which results from, a
                       Mental and/or Substance-Related Disorder are limited during Your lifetime to the number of months specified in
                       the Schedule Page.

                       After We have paid benefits for a Disability caused by, contributed to by, or which results from, a Mental and/or
                       Substance-Related Disorder for the number of months specified in the Schedule Page, We will not pay benefits
                       for a Disability caused by, contributed to by, or which results from, a Mental and/or Substance-Related Disorder
                       unless You are:
                            • continuously confined in a Hospital for treatment of a Disability caused by, contributed to by, or which
                                results from, a Mental and/or Substance-Related Disorder; and
                            • under the regular care of a Physician.

                       Under no circumstance will We pay benefits for a Disability caused by, contributed to by, or which results from, a
                       Mental and/or Substance-Related Disorder that We have excluded by name or description.

                       This limitation will not apply to Catastrophic Disability due to a Cognitive Impairment, as defined in the Basic
                       Catastrophic Disability Benefit Rider or Enhanced Catastrophic Disability Benefit Rider, if attached to the Policy.

                                                               PROVISIONS RELATING TO CLAIMS

                       Authorization
                       We will require an authorization, without alterations, signed by You, or Your duly authorized legal representative,
                       for Us to obtain information, as often as is reasonably necessary.

                       Notice of Claim
                       You must give Us written notice of claim within 30 days after any loss covered by the Policy occurs or begins, or as
                       soon after that as is reasonably possible. Written notice of claim; with complete information to identify You; will be
                       sufficient if provided to Us at Our home office, 700 South Street, Pittsfield, MA 01201, or to any authorized agent of
                       Berkshire Life.

                       Claim Forms
                       When We receive written notice of claim, We will send claim forms for filing proof of loss. Claim forms must be
                       completed, signed and returned to Us, and are a required part of proof of loss. If We do not send You such forms
                       within 15 days after receiving written notice of claim; You may submit a written statement within the time provided in
                       the Policy for filing proof of loss, which provides the nature and extent of the loss for which a claim is made.

                       Proof of Loss
                       You must provide Us with written proof of loss at Our home office for any loss within 180 days after the end of each
                       monthly period for which benefits are claimed. All losses must occur while the Policy is in force.

                       We can require any proof that We consider necessary to evaluate Your claim. Such proof may include, but is not
                       limited to, medical records, employment records, business records, evidence of Your Prior Income and Current
                       Income, financial records, and any other information necessary for Us to evaluate Your claim.

                       If You cannot give Us written proof of loss within the prescribed time, We will not deny or reduce Your claim if You
                       give Us written proof of loss as soon as reasonably possible. Under no circumstance will We pay benefits if written
                       proof of loss is delayed for more than one year, unless You have lacked legal capacity.

                       Payment of Claim
                       All terms and conditions of the Policy must be satisfied in order for benefits to become payable. After all required
                       proof of loss is provided and the claim is approved by Us, benefits due under the Policy will be paid to the Loss
                       Payee.


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                       If any benefit of the Policy becomes payable to a person not competent to give a release, We may pay such benefit,
                       up to an amount not exceeding $3,000, to a relative by blood or marriage of such person We deem appropriate. Any
                       payment made in good faith under this provision will fully discharge Us to the extent of such payment.

                       The Policy, and all Coverage, terminates upon Your death. Any accrued benefits that are unpaid will be paid to Your
                       estate.

                       Overpayment of Benefits
                       In the event that an overpayment of benefits occurs, We have the right to either recoup the overpayment from future
                       claim benefits or require reimbursement within 60 days of notification of overpayment.

                       Time of Claim Payment
                       Subject to satisfactory written proof of loss and upon Our determination that benefits are payable under the Policy,
                       We will pay all accrued benefits that are due for Disability and other specified losses. Benefits will be immediately
                       payable at the end of each month for which benefits are due while You are Disabled. Any amounts due that are
                       unpaid when You are no longer Disabled will be paid promptly after We receive satisfactory written proof of loss.

                       Examinations
                       We have the right to have You examined at Our expense and as often as We reasonably require to determine Your
                       eligibility for benefits under the Policy as part of the Proof of Loss provision. We will select the examiner and the
                       examination conditions. The examiner will be a specialist appropriate to the assessment of Your claim.

                       The examinations may include, but are not limited to, medical examinations, functional capacity examinations,
                       psychiatric examinations, psychological examinations, neuropsychological examinations, vocational evaluations,
                       rehabilitation evaluations, and occupational analyses. Such examinations may include any related tests that are
                       reasonably necessary to the performance of the examination. We may deny or suspend benefits under the Policy if
                       You fail to attend an examination, fail to cooperate with the examiner, or fail to comply with Our selected examination
                       conditions.

                       You must meet with Our representative for a personal interview or review of records at such time and place, and as
        cr)            frequently, as We reasonably require. Upon Our request, You must provide appropriate documentation.
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                       We have the right, at Our expense, to analyze or require an analysis of all relevant business, financial and
                       operational records, including, but not limited to, Your personal, business and corporate federal and state tax
                       returns, as often as We reasonably require by a financial examiner of Our choice. Such assessments may include
                       analysis of business, financial and operational records for any business in which You have or may have an
                       ownership interest. We can require that Your accounting practices be the same as those that were in effect
                       immediately preceding the start of Your Disability.

                       Responsibility to Cooperate and Obtain Appropriate Medical Care
                       You have the responsibility to cooperate with Us concerning all matters relating to the Policy including, but not
                       limited to, any claims under the Policy. You have the responsibility to obtain, and reasonably participate in, all
                       appropriate medical care for the condition for which benefits are claimed.

                                                    PROVISIONS RELATING TO PREMIUM AND RENEWAL

                       Premium
                       Premiums are due on the first day of each Premium Term. If You die, any premium paid that applies to the period
                       after Your date of death will be refunded to the Policyowner or the Policyowner's estate.

                       Grace Period
                       Except for the first premium, if the premium has not been paid by the premium due date, We allow a grace period of
                       31 days in which to pay each premium due. The Policy stays in force during the grace period. If the premium has not
                       been paid by the end of the grace period, the Policy will lapse.

                       Premium Term Changes
                       The Policyowner may submit a written request to Our home office to change the Premium Term. On request, and
                       subject to Our approval, premiums may be paid annually or on a periodic basis. As shown in the Schedule Page, the


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                       Premium Terms available are annual, semiannual, quarterly, or monthly. Any change to the Premium Term will
                       begin with the next premium due date. We will not allow any change that would result in any premium not being due
                       on a Policy Anniversary.

                       Conditional Renewal After The Expiration Date
                       After the Expiration Date, the Policy may be conditionally renewed on each Policy Anniversary, if:
                           • You are not Disabled; and
                           • You are Gainfully Employed Full Time for at least ten months each year; and
                           • the premium is paid on time; and
                           • the Policy is in force up to the Expiration Date.

                       If the Policyowner renews the Policy after the Expiration Date, We can require satisfactory written proof that You
                       have continued to be Gainfully Employed Full Time for at least ten months each year. Upon Our approval, We will
                       issue a new Schedule Page.

                       The only Coverage that will continue after the Expiration Date is for Total Disability, unless otherwise stated. The
                       Benefit Period after the Expiration Date is shown in the Schedule Page.

                       The premium at each renewal will be based on Our premium rates in effect for Your Age, gender, Class of Risk,
                       Occupation Class, any special class rating under the Policy, and other factors We are adding on a class basis at that
                       time. We have the right to change such premiums on a class basis on any Policy Anniversary. We will provide at
                       least 45 days' written notice of any change in premiums.

                       Any premium paid after the Expiration Date for a period not covered by the Policy will be refunded.

                       Cancellation by the Policyowner
                       The Policyowner may cancel the Policy at any time by written notice to Us, effective upon receipt or on such later
                       date as may be specified in such notice. In the event of cancellation, We will promptly refund all premiums paid for
                       any period after the date of cancellation.
                       Reinstatement
                       If the Policy has lapsed at the end of the grace period, the Policyowner can apply to reinstate the Policy by
                       completing an application for reinstatement and paying all overdue premium. We must receive the application within
                       six months of the date the Policy lapsed.

                       We may require satisfactory evidence of insurability to reinstate the Policy. If We approve the application, the Policy
                       will be placed back in force on the date of such approval. If We refuse to reinstate the Policy, We will refund the
                       overdue premium. If We have neither approved nor refused the application in writing within 45 days after receipt of
                       such application and overdue premium, the Policy will be reinstated on that 45th day.

                       The Policy will be reinstated as of the date We accept a premium if We do not require an application.

                       The reinstated Policy will cover only losses that result from Injury that occurs after the date of reinstatement or
                       Sickness that first manifests itself more than ten days after such date. In all other respects, the Policyowner and We
                       will have the same rights under the Policy as before it lapsed, subject to any provisions endorsed on or attached to
                       the Policy in connection with reinstatement.

                                                              GENERAL CONTRACT PROVISIONS

                       Consideration
                       We have issued the Policy in consideration of the representations in the application and payment of the first
                       premium. A copy of the application is attached and is a part of the Policy.

                       When the Policy is Effective
                       The Policy takes effect at 12:01 a.m. on the Effective Date and terminates at 11:59 p.m. on the date on which the
                       Policy terminates.




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                       The Contract
                       The Policy with any application(s), Schedule Pages, and any attached riders, amendments, and endorsements
                       make up the entire contract. No change in the Policy will be valid unless it has been endorsed on, or attached to, the
                       Policy in writing by the president, a vice president; or the secretary of Berkshire Life.

                       No agent or broker has authority to change the Policy or waive any of its provisions.

                       Time Limit on Certain Defenses
                       After two years from the Effective Date of the Policy no misstatements, except fraudulent misstatements, contained
                       in the application for the Policy will be used to void the Policy or to deny a claim for a loss incurred or Disability
                       commencing after the expiration of such two-year period.

                       In the event of a reinstatement, after two years from the date of reinstatement, no misstatements, except fraudulent
                       misstatements, contained in the application for reinstatement of the Policy will be used to void the Policy or to deny a
                       claim for a loss incurred or Disability commencing after the expiration of such two-year period.

                       In the event that any Coverage or rider is added to the Policy after the date the Policy takes effect, after two years
                       from the date such Coverage or rider takes effect, no misstatements; except fraudulent misstatements, contained in
                       the application for such Coverage or rider will be used to void the Policy or to deny a claim for a loss incurred or
                       Disability commencing after the expiration of such two-year period.

                       Termination of the Policy
                       The Policy will terminate when the first of the following occurs:
                          • the premium for the Policy remains unpaid at the end of the grace period; or
                          • the premium for the Policy remains unpaid for more than 90 days after the end of a suspension for active
                               military service or a suspension for unemployment; or
                          • Our receipt of the Policyowner's written request to terminate the Policy; or
                          • the Expiration Date, unless the Policy is conditionally renewed; or
                          • Your death.
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        ▪              Conformity with State Laws
                       Any provision of the Policy that, on the Effective Date, is in conflict with the laws of the state in which You reside on
                       such date is hereby amended to meet the minimum requirements of such laws.

                       Legal Actions
                       No one can bring an action at law or in equity under the Policy until 60 days after written proof of loss, as required by
                       the Proof of Loss provision under the Policy, has been furnished. In no case can an action be brought against Us
                       more than three years after written proof of loss must be furnished.

                       Misstatements of Age or Gender
                       If Your age or gender is misstated on the application, Coverage will be what the premium paid would have
                       purchased based on the correct age or gender.

                       If We would not have issued the Policy at Your correct age, there will be no insurance and We will refund all
                       premiums paid for the period not covered by the Policy.

                       Assignment
                       We will be bound by an assignment of the Policy for any claim only if We receive a written assignment from the
                       Policyowner on a form provided by Us before We pay the benefits claimed. We will not be responsible for the validity
                       or tax consequences of any assignment.

                       Waiver of Policy Provisions
                       Our failure to invoke or enforce any right under the terms of the Policy will not be deemed a waiver of that right.




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                       Berkshire Life Insurance Company of America
                       700 South Street
                       Pittsfield, MA 01201


                                           ENHANCED PARTIAL DISABILITY BENEFIT RIDER
                       This rider is a part of the Policy to which it is attached. All provisions of the Policy apply to this rider and remain
                       the same except where We change them by this rider.

                       The Policy is amended by adding or changing the following provisions:

                                                                           DEFINITIONS
                       CPI-U
                       CPI-U means the Consumer Price Index for All Urban Consumers, or any later replacement for it, as published by
                       the Bureau of Labor Statistics of the United States Department of Labor.

                       Current Index Month
                       Current Index Month means the yearly anniversary of the Original Index Month immediately preceding each
                       Review Date.

                       Disability or Disabled
                       Disability or Disabled is amended to also include Partial Disability or Partially Disabled.

                       Enhanced Initial Monthly Benefit
                       The Enhanced Initial Monthly Benefit is the amount We will pay each month for the first 12 months that You are
                       eligible for a Partial Disability benefit in the same claim.
        rn             Monthly Partial Benefit
                       Monthly Partial Benefit means the amount We will pay each month if You continue to be Partially Disabled in the
        N
                       same claim after the Enhanced Initial Monthly Benefit has been paid for 12 months. It is a percentage of the
                       Monthly Benefit.

                       Original Index Month
                       Original Index Month means the calendar month 90 days before the date on which You were first Disabled in the
                       same claim.

                       Partial Disability or Partially Disabled
                       Partial Disability or Partially Disabled means You are Gainfully Employed and You are not Totally Disabled under
                       the terms of the Policy but, solely due to Injury or Sickness, Your Loss of Income is at least 15% of Your Prior
                       Income.

                       Review Date
                       Review Date means the yearly anniversary of the date on which You were first Disabled in the same claim.

                                                 PROVISIONS RELATING TO PARTIAL DISABILITY
                       Partial Disability Benefit
                       When You are Partially Disabled, We will pay a Partial Disability benefit as follows:
                          • You must become Disabled while the rider is in force.
                          • You must satisfy the Elimination Period.
                          • After You have satisfied the Elimination Period, a Partial Disability benefit will be payable at the end of
                               each month while You are Partially Disabled.

                       For each month of the first 12 months that You are eligible for a Partial Disability benefit in the same claim, We
                       will pay an Enhanced Initial Monthly Benefit. The Enhanced Initial Monthly Benefit is equal to Your Loss of Income


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                       less any individual disability insurance benefits You are receiving, or that You are eligible to receive. from Us and
                       all other insurance companies, on policies that are in force on or before the Effective Date of this rider. The
                       Enhanced Initial Monthly Benefit will not be less than 50% of the Monthly Benefit. In no event will the Enhanced
                       Initial Monthly Benefit exceed the Monthly Benefit.

                       If You continue to be Partially Disabled in the same claim after the Enhanced Initial Monthly Benefit has been paid
                       for 12 months, We will pay a Monthly Partial Benefit.

                       The Monthly Partial Benefit will be determined by the formula (a) divided by (b) multiplied by (c), where:
                          (a) is Your Loss of Income for the month in which You are Partially Disabled; and
                          (b) is Your Prior Income; and
                          (c) is the Monthly Benefit.

                       If Your Loss of Income is more than 75% of Prior Income in any month of Partial Disability while the Monthly
                       Partial Benefit is payable, We will deem such loss to be 100%.

                       We will not increase the Partial Disability benefit because You are Disabled from more than one cause at the
                       same time.

                       Recovery
                       We will continue to consider You Partially Disabled, even if You have recovered from the Injury or Sickness that
                       caused Partial Disability, so long as Your Loss of Income is still at least 15% of Your Prior Income and such Loss
                       of Income is solely due to the Injury or Sickness that caused Your Partial Disability.

                       Adjustment of Prior Income and Prior Business Expenses
                       On the Review Date while benefits are payable, We will adjust Your Prior Income and Prior Business Expenses for
                       the next 12 months based on changes in cost of living, as reflected in the CPI-U, since the start of claim. We will
                       adjust the Prior Income and Prior Business Expenses by multiplying each by the actual percentage change in the
                       CPI-U between the Current Index Month and the Original Index Month. The adjusted Prior Income and adjusted
                       Prior Business Expenses will apply to the 12-month period that follows the Review Date and will be used to
                       determine Your Loss of Income.

                       The adjustment to Prior Income and Prior Business Expenses may vary from year to year as the CPI-U rises or falls
                       in relation to the Original Index Month. We will make no change that would reduce Prior Income or Prior Business
                       Expenses below what they were at the start of claim.

                       We will adjust the Prior Income and Prior Business Expenses on each Review Date, while a Partial Disability benefit
                       is payable, until the first of the following occurs:
                           • the Benefit Period ends; or
                           • this rider terminates.

                       Proof of Loss
                       In addition to any proof of loss required by the Policy, You must provide Us with written proof of loss necessary to
                       establish that Your Loss of Income is solely the result of Your Injury or Sickness.

                       Premium and Renewal
                       The premium for this rider is shown in the Schedule Page. This rider may not be renewed after the Expiration
                       Date of the Policy.




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                                                                        TERMINATION
                       Termination of the Partial Disability Benefit
                       Benefits for Partial Disability will no longer be payable when the first of the following occurs:
                          • You are no longer Partially Disabled; or
                          • Your Loss of Income is no longer solely the result of Injury or Sickness; or
                          • the first month in which Your Loss of Income is less than 15% of Your Prior Income; or
                          • You become Totally Disabled; or
                          • the Benefit Period ends; or
                          • this rider terminates.

                       Termination of Enhanced Partial Disability Benefit Rider
                       This rider terminates when the first of the following occurs:
                           • the Expiration Date of the Policy or the end of the Benefit Period, whichever is later; or
                           • the premium for this rider remains unpaid for more than 31 days; or
                           • Our receipt of the Policyowner's written request to terminate this rider; or
                           • the Policy terminates.


                                                                                 Berkshire Life Insurance Company of America


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                       Berkshire Life Insurance Company of America
                       700 South Street
                       Pittsfield, MA 01201


                                       3% COMPOUND COST OF LIVING ADJUSTMENT RIDER
                       This rider is a part of the Policy to which it is attached. All provisions of the Policy apply to this rider and remain
                       the same except where We change them by this rider.

                       The Policy is amended by adding or changing the following provisions:

                                                                           DEFINITIONS
                       Cost of Living Adjustment Factor
                       The Cost of Living Adjustment Factor is 1.03.

                       Incremental Monthly Benefit
                       Incremental Monthly Benefit means the difference between the adjusted Monthly Benefit in effect on the last
                       Review Date before Your claim ends and the Monthly Benefit shown in the Schedule Page.

                       Review Date
                       Review Date means the yearly anniversary, in the same claim, of the date on which You were first Disabled.

                                          PROVISIONS RELATING TO COST OF LIVING ADJUSTMENT
                       Adjustment of the Monthly Benefit
                       On each Review Date while benefits are payable, We will adjust the Monthly Benefit on a compound basis as
        0              follows:
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                            • On the first Review Date, We will determine the adjusted Monthly Benefit for the next 12 months by
                                multiplying the Monthly Benefit by the Cost of Living Adjustment Factor.
        N                   • On each subsequent Review Date, We will determine the adjusted Monthly Benefit for the next 12 months
                                by multiplying the adjusted Monthly Benefit in effect immediately prior to each Review Date by the Cost of
                                Living Adjustment Factor.

                       If You are no longer Disabled and We are no longer paying benefits under the Policy, We will increase the
                       Monthly Benefit by the Incremental Monthly Benefit, if any, determined on the last Review Date, if:
                           • Your Disability ends prior to the Expiration Date: and
                           • the Incremental Monthly Benefit is at least $300.

                       There will be no premium charge for the Incremental Monthly Benefit until the Expiration Date. After the Expiration
                       Date, there will be a premium charge for the Incremental Monthly Benefit.

                       Adjusted Monthly Benefit After the Expiration Date
                       At the time of the first renewal of the Policy after the Expiration Date, the Policyowner may choose one of the
                       following amounts of Monthly Benefit for any claim for Total Disability that begins after that date:
                            • the Monthly Benefit shown in the Schedule Page; or
                            • the adjusted Monthly Benefit, if any, last created by this rider.

                       We will base the premium after the Expiration Date on the amount of Monthly Benefit selected. All the conditions
                       in the Policy for renewal after the Expiration Date must be satisfied.

                       Premium and Renewal
                       The premium for this rider is shown in the Schedule Page. This rider may not be renewed after the Expiration
                       Date of the Policy.




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                                                                       TERMINATION
                       Termination of Cost of Living Adjustment
                       We will adjust the Monthly Benefit on each Review Date until the first of the following occurs:
                          • benefits are no longer being paid under the Policy for Your Disability; or
                          • the Benefit Period ends; or
                          • this rider terminates.

                       Termination of 3% Compound Cost of Living Adjustment Rider
                       This rider terminates when the first of the following occurs:
                           • the Expiration Date of the Policy or the end of the Benefit Period, whichever is later; or
                           • the premium for this rider remains unpaid for more than 31 days; or
                           • Our receipt of the Policyowner's written request to terminate this rider; or
                           • the Policy terminates.


                                                                                 Berkshire Life Insurance Company of America

                                                                                 Sp.".
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                       Berkshire Life Insurance Company of America
                       700 South Street
                       Pittsfield, MA 01201


                                                       FUTURE INCREASE OPTION RIDER
                       This rider is a part of the Policy to which it is attached. All provisions of the Policy apply to this rider and remain
                       the same except where We change them by this rider.

                       The Policy is amended by adding or changing the following provisions:

                                                                           DEFINITIONS
                       Increase Option
                       Increase Option means an option to apply for an Increase Policy.

                       Increase Policy
                       Increase Policy means any policy that is issued as a result of an exercise of an Increase Option.

                       Option Date
                       Option Date means the date of every Policy Anniversary while this rider is in effect.

                       Option Period
                       Option Period means:
                           • the 63-day period beginning 31 days immediately before the Option Date and ending 31 days
                               immediately following the Option Date; or
                           • the 90-day period beginning on a Special Option Date.
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                       Special Option Date
                       Special Option Date means:
        N                 • the first date You are no longer covered by, nor eligible to participate in, a group long-term disability (LTD)
                               plan, or
                          • a date that We declare.

                       Total Increase Option Amount
                       Total Increase Option means the maximum amount of Monthly Benefit that may be issued for an Increase Policy.
                       The Total Increase Option Amount is shown in the Schedule Page.

                                                 PROVISIONS RELATING TO INCREASE OPTIONS
                       Exercising an Increase Option During an Option Period
                       An Increase Option may be exercised during an Option Period if You are Gainfully Employed Full Time. We must
                       receive the application for an Increase Policy during an Option Period. Each time We issue an Increase Policy,
                       the remaining Total Increase Option Amount available under this rider will be reduced by the amount of the
                       Increase Policy.

                       All or part of the remaining Total Increase Option Amount may be applied for until You attain Age 45.

                       On or after Age 45, only the following may be applied for:
                          • up to one-third of the original Total Increase Option Amount, not to exceed the remaining Total Increase
                               Option Amount; or
                          • the remaining Total Increase Option Amount if it is less than $1,000; or
                          • the remaining Total Increase Option Amount if an Increase Policy is being applied for as a result of a
                               Special Option Date that occurs because You are no longer covered by, nor eligible to participate in, a
                               group LTD plan.



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                       Each Increase Policy applied for during an Option Period will be underwritten to determine the maximum amount
                       of Monthly Benefit available, if any, not to exceed the Total Increase Option Amount. This amount will be
                       determined by Our underwriting rules in effect on either the Effective Date of the Policy or when an Increase
                       Policy is applied for, whichever are more favorable to You.

                       We will issue only one Increase Policy as a result of a Special Option Date while the Policy and this rider are in
                       effect. If We issue an Increase Policy as a result of a Special Option Date, no Increase Option will be available
                       during the next Option Period.

                       Exercising an Increase Option When Disabled or Receiving Disability Benefits
                       An Increase Option may be exercised during an Option Period when You are Disabled or receiving disability benefits
                       from any source. However, an Increase Option may not be exercised as a result of a Special Option Date if You
                       are Disabled or receiving disability benefits from any source.

                       If an Increase Option is exercised when You are Disabled or receiving disability benefits from any source, any
                       Increase Policy will only apply to a new and separate Disability and will not provide a benefit for the current
                       Disability. or recurrent Disability, or current claim for benefits.

                       Your Income for the purpose of exercising an Increase Option when You are Disabled or receiving disability
                       benefits from any source will be based upon Your Income in the 12-month period immediately prior to the onset of
                       Your Disability.

                       Proof of Insurability
                       When an Increase Option is exercised, You must provide evidence of Your Income, employment. and all other
                       disability insurance with any insurer that is in force, that has been applied for. or for which You are eligible. We
                       may require additional evidence of financial insurability. You do not have to provide evidence of Your occupation
                       or medical insurability.

                       If an Increase Option is exercised as a result of a Special Option Date because You are no longer covered by, nor
                       eligible to participate in, a group LTD plan, You must also provide evidence of Your eligibility status in a group LTD
                       plan.

                       Increase Policy
                       The Increase Policy will be issued on a separate policy form then being used by Us for new applicants on a
                       regular basis in the place where You live. For purposes of this rider, new applicants are individuals who do not
                       have any coverage in force with Us at the time of application.

                       The Increase Policy will include those provisions, benefits, and riders that are part of the Policy if We are then
                       offering them to new applicants in the place where the Increase Policy is issued. The provisions, benefits, and
                       riders of the Increase Policy may be different from the Policy.

                       The Increase Policy will not have a shorter Elimination Period or a longer Maximum Benefit Period than the
                       Policy.

                       We will not issue an Increase Policy with less than $200 of Monthly Benefit.

                       The premium for each Increase Policy will be based on Our premium rates in effect on the date of issue of the
                       Increase Policy, which may vary by state. The premium may also be based on, but not limited to, the following:
                           • the Increase Policy amount and any rider that is attached to the Increase Policy; and
                           • Your age on the date of issue of the Increase Policy; and
                           • Your gender; and
                           • the state and policy form of the Increase Policy; and
                           • the Class of Risk. Occupation Class, and any special class rating under the Policy.

                       Your Class of Risk and Occupation Class under the Increase Policy will not be less favorable than under the
                       Policy. If, at the time the Increase Policy is applied for, You submit evidence satisfactory to Us that You qualify for
                       a more favorable Class of Risk and/or Occupation Class than under the Policy, We will apply the more favorable
                       classification to the Increase Policy.

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                       Conditions that are excluded by name or description under the terms of the Policy will be excluded under the
                       Increase Policy.

                       In order for an Increase Policy to become effective, We must receive the first premium unless premiums are then
                       being waived because You are Disabled or benefits are being paid under the Policy. The premium for any
                       Increase Policy will be waived if premiums are then being waived under the Policy.

                       Rider Premium
                       The premium for this rider is shown in the Schedule Page. Each time We issue an Increase Policy, the remaining
                       Total Increase Option Amount available and the premium for this rider will be reduced accordingly. A new
                       Schedule Page will be issued.

                                                                       TERMINATION
                       Termination of Future Increase Option Rider
                       This rider terminates when the first of the following occurs:
                           • You attain Age 55; or
                           • the Total Increase Option Amount has been issued; or
                           • the premium for this rider remains unpaid for more than 31 days; or
                           • Our receipt of the Policyowner's written request to terminate this rider; or
                           • the Policy terminates.


                                                                                 Berkshire Life Insurance Company of America

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                Berkshire Life Insurance Company of America
                700 South Street
                Pittsfield, MA 01201


                                                  STUDENT LOAN PROTECTION RIDER
                This rider is a part of the Policy to which it is attached. All provisions of the Policy apply to this rider and remain the same
                except where We change them by this rider.

                 The Policy is amended by adding or changing the following provisions:

                                                                       DEFINITIONS
                Reimbursable Student Loan Expense
                Reimbursable Student Loan Expense means the monthly amount You incur and pay for a claimed month as a result of a
                Student Loan Obligation.

                Student Loan Obligation
                Student Loan Obligation means a legally binding loan agreement(s) that:
                   • includes the terms of Your financial obligation and establishes Your personal responsibility for loan repayment
                       over a fixed period of time; and
                   • is signed by You as a borrower; and
                   • is established solely for the purpose of paying education-related expenses while You attend a degree-granting
                       institution; and
                   • is secured from a chartered bank, lending institution and/or government program, or their lawful successor(s) or
                       assigns; and
                   • is not commingled with obligations that are separate and distinct from Your obligation to pay education-related
                       expenses.
        rn
                Student Loan Protection Accumulation Period
        7r      The Student Loan Protection Accumulation Period is the uninterrupted period of consecutive days during which the
                Student Loan Protection Elimination Period must be satisfied. The Student Loan Protection Accumulation Period begins
                on the first day that You are Totally Disabled. It is shown in the Schedule Page.

                Student Loan Protection Elimination Period
                The Student Loan Protection Elimination Period is the number of days You must be Totally Disabled before benefits begin
                to accrue and starts on the first day that You are Totally Disabled. The days within this period need not be consecutive, but
                they must occur within the Student Loan Protection Accumulation Period. Benefits will not accrue or be payable during the
                Student Loan Protection Elimination Period. It is shown in the Schedule Page.

                Student Loan Protection Maximum Monthly Benefit
                Student Loan Protection Maximum Monthly Benefit is the maximum amount of monthly benefit We will pay under this
                rider. It is shown in the Schedule Page.

                Student Loan Protection Monthly Benefit
                Student Loan Protection Monthly Benefit is equal to the Reimbursable Student Loan Expense, not to exceed the Student
                Loan Protection Maximum Monthly Benefit.

                Student Loan Protection Termination Date
                Student Loan Protection Termination Date is the date on which coverage under this rider terminates. if it has not already
                terminated. It is shown in the Schedule Page.




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                                PROVISIONS RELATING TO STUDENT LOAN PROTECTION MONTHLY BENEFIT
                 While You are Totally Disabled, We will pay the Student Loan Protection Monthly Benefit if each of the following
                 conditions is satisfied:
                    • You become Totally Disabled while this rider is in force; and
                    • You are personally responsible for and are making payments pursuant to the terms of a Student Loan Obligation; and
                    • You satisfy the Student Loan Protection Elimination Period; and
                    • You provide all required proof of loss.

                 The Student Loan Protection Monthly Benefit will no longer be payable when You are no longer Totally Disabled. Benefits
                 will not be paid for Reimbursable Student Loan Expenses incurred after this rider terminates.

                We will not increase the Student Loan Protection Monthly Benefit if You are Totally Disabled from more than one cause at
                a time.

                Proof of Loss
                Proof of loss is amended to also include proof pertaining to Your Student Loan Obligation and the Reimbursable Student
                Loan Expense.

                Student Loan Protection Monthly Benefit Assignment
                The Policyowner may assign the Student Loan Protection Monthly Benefit separately from other benefits under the Policy.
                We will not be bound by an assignment of any benefits payable under this rider for any claim unless We receive a written
                assignment on a form provided by Us before We pay the benefits claimed.

                 We will not be responsible for the validity or tax consequences of any assignment.

                Premium and Renewal
                The premium for this rider is shown in the Schedule Page. This rider will expire on the Student Loan Protection Termination
                Date or, if earlier, when You no longer have a Student Loan Obligation, and no further premium will be due for it.

                 If, prior to the Student Loan Protection Termination Date, You no longer have a Student Loan Obligation, We will refund any
                 premium paid for this rider as of the date the Student Loan Obligation ended. We must receive proof at Our home office that the
                 Student Loan Obligation has ended. However, in no case will We refund more than 12 months of premium paid for this rider.

                 During a period of Disability, the premium for this rider will be waived if premiums are then being waived for the Policy to
                 which this rider is attached.

                                                                      TERMINATION
                 Termination of the Student Loan Protection Monthly Benefit
                 The Student Loan Protection Monthly Benefit will no longer be payable when the first of the following occurs:
                    • You are no longer Totally Disabled; or
                    • this rider terminates.

                 Termination of Student Loan Protection Rider
                 This rider terminates when the first of the following occurs:
                     • the Student Loan Protection Termination Date; or
                     • the premium for this rider remains unpaid for more than 31 days; or
                     • Our receipt of the Policyowner's written request to terminate this rider; or
                     • You no longer have a Student Loan Obligation; or
                     • the Policy terminates.

                                                                            Berkshire Life Insurance Company of America


                                                                            SALA.
                                                                            Secretary



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                       Berkshire Life Insurance Company of America
                       700 South Street
                       Pittsfield, MA 01201


                                               SERIOUS ILLNESS SUPPLEMENTAL BENEFIT ENDORSEMENT
                       This endorsement is a part of the Policy to which it is attached. All provisions of the Policy apply to this
                       endorsement and remain the same except where modified by this endorsement.

                       The Policy is hereby amended by adding the following:

                       Serious Illness Supplemental Benefit
                       We will pay a Serious Illness Supplemental Benefit in addition to the Monthly Benefit when You are Totally
                       Disabled solely due to Cancer, Stroke and/or Heart Attack. The Serious Illness Supplemental Benefit is equal to
                       50% of the Monthly Benefit. It is paid for a maximum of 12 months during the life of the Policy and is only
                       payable while the Monthly Benefit is payable.

                       The Serious Illness Supplemental Benefit is in addition to any other benefit provided by the Policy or any
                       attached riders. In no event will We pay more than 50% of the Monthly Benefit for the Serious Illness
                       Supplemental Benefit, even if You are Totally Disabled from more than one cause at the same time.

                                    Cancer means a disease that is identified by the presence of malignant cells, or a malignant tumor,
                                    characterized by uncontrolled and abnormal growth and spread of invasive malignant cells.

                                    Stroke means any cerebrovascular incident due to rupture or acute occlusion of blood flow to the cerebral
                                    artery. The Stroke must cause a neurological deficit resulting in complete or partial loss of function
                                    involving the motion or sensation of a part of the body and must last more than 24 hours. The Stroke must
                                    be positively identified by a Physician based upon documented neurological deficits and must be
                                    confirmed by neuroimaging studies. Traumatic Brain Injury caused by external forces will not be
                                    considered a Stroke.

                                    Heart Attack means the death or damage of a portion of the heart muscle as a result of inadequate blood
                                    supply to the relevant area. The diagnosis for this must be evidenced by:
                                          • new electrocardiogram changes; and
                                          • elevation of cardiac-specific enzymes or troponins.


                                                                                      Berkshire Life Insurance Company of America


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                       Berkshire Life Insurance Company of America
                       700 South Street
                       Pittsfield, MA 01201


                                    OCCUPATIONAL REHABILITATION, MODIFICATION AND ACCESS BENEFITS
                                                           ENDORSEMENT
                       This endorsement is a part of the Policy to which it is attached. All provisions of the Policy apply to this endorsement
                       and remain the same except where modified by this endorsement.

                       The Policy is hereby amended by adding the following:

                       Occupational Rehabilitation Benefit
                       If You are Disabled, You may be eligible for an Occupational Rehabilitation Benefit. We will pay for a program of
                       occupational rehabilitation if:
                            • You and We agree in advance of beginning the occupational rehabilitation program; and
                            • the program is a formal plan that will help You return to Gainful Employment in Your Occupation; and
                            • the program is directed by an organization or individual licensed or accredited to provide occupational
                               rehabilitation or education to persons who are disabled; and
                            • the program is documented in a signed written agreement.

                       The extent of Our role in this program will be determined by the written agreement. We will pay only those costs, as
                       agreed to, that are not otherwise covered by insurance, workers' compensation, or any public fund or program.

                       We will periodically review the program and Your progress in it. We will continue to pay for the program as long as
                       We determine that it is helping You return to Gainful Employment in Your Occupation.

                       Participating in a program of occupational rehabilitation will not in itself be considered a recovery from the Injury or
        rn             Sickness that resulted in Your Disability, and benefits will continue as provided in the Policy.
        (Y)


        •‘Tr
        N
                       Modification and Access Benefit
                       If You are Disabled, You may be eligible for a Modification and Access Benefit. If a modification is determined by Us
                       to be appropriate and reasonable to enable You to perform Your material and substantial duties, We will reimburse
                       You for the cost that You incur for such modification upon written proof acceptable to Us as set forth in a signed
                       written agreement. The purpose of any such modification must be to help You return to Gainful Employment in Your
                       Occupation.


                                                                                    Berkshire Life Insurance Company of America


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                                                                                    Secretary
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                     AMENDMENT TO APPLICATION                                                        It is agreed that these amendments and
                                                                                                  declarations are to be taken and considered
                                                                                                  a part of said application and subject to the
                     This Amendment is made a part of Policy No. Z4163390 to which it             representations and agreements therein,
                     is attached and becomes effective on the Policy Date.                        and that the said application and these
                                                                                                  amendments are to be taken as a whole and
                     It is hereby requested that the application for insurance made to            considered as the basis, and form part of
                     Berkshire Life Insurance Company of America on 2/19/2019 be                  the contract or policy issued thereon.
                     amended as follows:
                                                                                                      It is further represented that the
                     Question No. 9:                                                              statements and answers in said application
                                                                                                  were complete and true when made and that
                          "By signing below, I certify that I have read, agree to, and            no changes have occurred which would
                          confirm all of the representations and information provided by me       make said statements and answers incorrect
                                                                                                  or incomplete as of the present date.
                          in the Representations to the Medical Examiner (Part 2) which
                          was signed by me using my voice authorized signature and is                The undersigned declare that a duplicate
                          attached to the policy issued to me, as of the date of my signature     copy of the foregoing amendment to
                          below."                                                                 application is attached to the policy.

                     Application for Disability Insurance - Individual Disability Insurance
                     Supplement

                     Question No. 1.C:

                          Occupation Class: "3M"

                     Question No. 1.D:

        0                 Is this part of an Approved Employee Multi-Life Program (unisex
                          rates)? "No": "No"
        C-
        N            Question No. 2.C.4:

                          Increase Option - Future Increase Option - BenefitAmount:
                          "$13,500.00"

                     Question No. 2.C.5:

                          Mental and/or Substance-Related Disorders Limitation: "24
                          Month"

                     Student Loan Protection Rider Insurance Supplement

                     Question No. 2.B:

                          Elimination Period: "180 days"

                     Part 2 Medical Application

                     Question No. 16:



                                                                                                  Date

                                                  **********
                                                                                                  Anna F Schubert — Insured

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                8 Guardian                                                                Berkshire Life Insurance Company of America
                                                                                          Home Office: 700 South Street, Pittsfield, MA 01201
                                                                                          A wholly owned stock subsidiary of The Guardian
                                                                                          Life Insurance Company of America, New York, NY




                DECLARATION OF INSURABILITY
                  Proposed Insured: Anna F Schubert                                                         Policy Number:       24163390
                  For the policy identified above, I represent that since the date of the earlier of the Application for Insurance: Part II — Health and
                  Medical History, the Representations to the Medical Examiner Part 2, or the Application For Disability Insurance: Part Ito Berkshire Life
                  Insurance Company of America (the "Application"), I have not:
                     1. had a physical exam or checkup of any kind;
                     2. been diagnosed, treated, or tested positive by a member of the medical profession, counselor, or professional of the
                        healing arts for any disease, illness, or injury;
                     3. received medical advice or counseling from any physician, medical or mental health professional, counselor, psychotherapist,
                        chiropractor, or other practitioner;
                     4. been a patient in a hospital, clinic, or other medical or mental health facility;
                     5. had any change in occupation, job title, duties, employment, income, residence, military status, or tobacco or nicotine use;
                     6. applied nor am I eligible for other life, disability or accident insurance;
                     7. had a professional license suspended or revoked, nor have I been notified of any pending investigation or complaint concerning
                        my professional license; or
                     8. filed for bankruptcy nor has any business I own or have owned filed for bankruptcy.
        0)
        (Y)       In addition to the above representations, I further represent that: 1) as of today's date, I am actively at work on a full time basis at least
                  30 hours per week performing the same duties and occupation(s) identified in the Application for Disability Insurance: Part I; and 2)
        71-
        N
                  there are no exceptions to the above representations other than as set forth below:
                  Exceptions:




                  This Declaration of Insurability does not require disclosure of medical, financial, occupational or other facts already provided
                  by me, or about me, and which are stated in an amendment, or other form(s) attached to the policy or policies delivered to me.
                  It is agreed that this Declaration: (1) shall be made part of the Application for the policy identified above; and (2) is made to
                  induce Berkshire Life Insurance Company of America to deliver said policy to the owner.
                  Signed at City, State                                               Today's Date (mmidd/yyyy)


                  Signature of Proposed Insured


                  Instructions to the Producer: This policy must not be delivered if there are any exceptions noted above. If there are no exceptions
                  to the above representations: 1) make sure that Proposed Insured signs and dates where indicated; 2) attach a completed copy to the
                  policy; and 3) forward the original to the Home Office immediately with any other reporting requirements. Delivery of the policy must be
                  withheld and the policy returned to the Home Office if: 1) there are any exceptions to the above representation; or 2) this form is not
                  s gned by the Proposed Insured




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                                                                                                                                                       firisuronte Company olAirerta; New York, NY

                          GUARDIAN                                                                                                                     The Stfardientite !Metal's.* Ceirripaitir of Aoiitri6a.
                                                                                                                                                       Administrative. Office:•780 South. Street, Pittsfield; 1,/lA ..1

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                         APPLICATION FOR DISAB1LITY ItiSURANCEt PART:1
                           SECTION 1:PROPOSED INSURED INFORMATION
                           A, :First
                               • —   Noire•                          ..„                                             Middle initial                           Last•Norne                                                  Suffix

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                              .Presievs-1.0st Name (iteppkehle)



                           B. Gender:              E..j Male         vi Female


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                           SECT/ON 1: PROPOSED INSURED INFORMATION (CONTit4UED)
                           1. 1. Are you a U.S. citizen or green card holder9 Nol Yes                                                  I No.
                                    If.No, please anewer the following:

                                      2. Visa Type:z

                                           Vita DuratiOn; I

                                      4.:.ttOyeitt fikpect to reticle lii the 0.S.:pannanently7i :yes
                                           8 NO, include details:




                                                 do you expect                                                                or permanerit Mtldetnt (green ,.•Ard)7 ......



                           SECTION 2::BUSINESS INFORMATION.                                                                                                                                                                          •
                           A. 1.•CurrentEMployerd.14                         For- A*

                                    NuMberbfyears with current erntiloyer:L.

                               3.If lest than twoyears, state prior etriplOyer:

                          .8. Business Addreas:
                               Street                                                                                        ..   ..           .   •       •••                  ,••   • - •   ......     VI%   ....   N ..   ...


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                               City                                                                                                                                             State             ..40•Ctkie

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                                                t. - •
                               Business Missile:: ................................ •.....•                                                                                                                                   •

                               Nature of Business orIndussry.            &Ash /,,(:)24-c/
                           E. How many people are employed ny your businmtir.manbtatioo7                                                               .....
                                                                .....
                           F I. Is. this a home-based business??.... Yes. .S..%), No
                               2. If yes, what percentage °Mime do you spend worling outside ilie:hohte;?' 1:6




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                           SECTION 3: OCCUPATIONAL INFORMATION

                           A. Occupation. e. R. fsiozolletAi-

                            B. Wilber of years                                                         3iffy!.

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                                                  . ...     • ••               .       . ,
                           D. 1. Job Title:          r   A

                                    For Modical'Occupations.Only: Physicians, Fellows, Residents, and Students •
                                    Please list certilicatian(s) or Intaadad cartificatiorks):
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                                      2. Niecikai Roard Specialty•tertifteatiOrt:t.f.:                          .

                                      3. Medical Board gtibspeCially Dertiftcailom                                  .     .

                               Acediainic .        es,:profestionol icenses, andlor designations held ,if none; so stale):
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                                1,Are.you any of the.

                                    E a Student: 11RskiSiit                        Fallow

                                    If yes.vteliiii is your expetiitiO graduation date?                         ..7.°

                            D. Describe the spedflc duties of.your occupaticm.intlading 6arnot knifed tO surgery:travel, sates, arid supervisory datiet. If the
                              •space prOvided is IVA a:del:pate, prO4ide additional dstailS 9) Remarks & SoacialiReOtretts:SectiOn
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        0                                                                Description of Specific Duties                                                                     Vo of ThneDevoted to Each.Duty
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                                    If yes, please provide details:                                                                             „
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                           SECTION 3; OCCUPATIONAL INFORMATION (CONTINUED)
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                           K Erroleyment Ettat05?           Eniployee'ffitiOitffitithip)"

                                                            Sole Proprietor or-10q9 Employee

                                                       L„ Partner.              % of ownership

                                                       E1S-Corp Shareholder                     1% of ownership

                                                       oc-c.psharchold,3rt,,                     % of owriershIp

                          •F. Do"youTiartiotivutort your occupation,. Ob. or ernriloyment mthlr; the rlexi ibr monrhs?                                                  l'YETS

                               if yes.. provide details:




                            f., Do you.hove.eny'ottrel'OSitliihe ck              DGGIJO6110nS;11*S,:Of                   .............        .................. ....12 ..'leas

                              if    ye.
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                           SECTION 4: OTHER INSURANCE COVERAGE
                           A. Within the past five years, have you hacteny appilouquil fur OrtstfranCe.deulineti,:postporiad. modified.
                              rated. Cam:allot rescinded. or have you withdrawn aspericling application, or had:a remswal or
                              reinstaterneiii request refused?    •    • . ....... ...... ..... .....
                              If-yes, provide astaiisindReinaro              Sneeial Requests section 9
                               1. Wthinlhe:past six months, have you applied for life Insurance thrOUgh The tuttditin Lite Inatirarfee
                                  ComperlybfAmerica (Guardian') or any ()trier company?.............. .., ....    .. • ...                                                                                                nNo

                               2', if yeadisi4fifatternidaittY?Efi>s&..4'd

                                        ha':e any disabIlity insurehoe n fOtoeor.applied:fer, or for which yoU are             iieXt
                               sinoriihe with ally company,:induding Guardian or Berkahire Life:Insurance Company of America (Beritaitirel)...,Lyiiii§                                                                     LY-i 14c'
                               -files, list ell coverages in the chartbelow.
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                               Retirement Protection (RP); tf other, please specify.
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                           SECTION .5; PERSONAL.FINANCIAL INFORMATION
                           For•purposes.of this.secAton.oniy, Carried- lna3the met;ri$ th inctotne.yr.tu. are i•erplredlc:report:1c the Internal Revumae:5eivica-r1R6")
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                          SECTION 8: ADDITIONAL INFORMATION
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                                ,(if yes, complete the Avocation Supplement.)




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                           SECTION 6: ADDITIONAL INFORMATION (CONTINUED)
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                           SECT€ON 8; COVERAGE.APP!..IED FOR.
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                          SECT€ON 9: REMARKS & SPEC€AL REQUESTS
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                           SECTION 11: REPRESENTATIONS OF THE PROPOSED INSURE.D AND OWNER
                           Those parties who sign balms,: agree that:
                           1. This Appiimtion for Disability iristmence: Part.I, A/split:odor! forinsuranca:.Prrt lh:z•Heaiiii end Modfoal Hietary, any 'required'
                              Representations to the Modkei.Bcareinekandany other .supgiernants or amendments to this At pi                 for Disability Insuraroj.„
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                          My person who knowingly, end with intent to defraud any ineuranco company or other parade*, Oat an application of
                          Insurance or statement of claim containing any materially false Information or corscoals,forthe purpose of misleading,
                          information concerning any fact orate/int thereto. commits a fraudulent Insurance act, which Is a crime, and may alto be
                          subject to civil penalties.

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                                                                                                                               Berkshire Life Insurance Company of America
                                                                                                                               Horne Offirya:.700.South Street, Pittsfield, MA 01201
                                                                                                                               Awhollysowned stock-subsidiary ofThe Guardian-Life
                                                           L.                                                                  lritirarteeGOMpany otAmerica. NOM Yerk, NY

                          GUARDIAN*

                          APPLICATION FOR DISABILITY INSURANCE -
                         INDIVIDUAL DISABILITY INSURANCE SUPPLEMENT
                         if applying for an individual disability insurance policy. complete sections 71 and.2 only. If aanlygnglor a separate Retirement.
                         Protection Plus polio, complete sections 7 and 3 only.

                           SECTION 1: PROPOSED INSURED INFORMATION
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                              SECTION 2: INDIVIDUAL DISABILITY INSURANCE (CONTINUED)                                                                                            N*4••••••




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                              SECTION 2: INDIVIDUAL DISABILITY INSURANCE (CONTINUED)
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                                     1. Increase Option.                                                                              .11:10.:$1

                               • 2. Cost of Living•Adjustment (COLA) 11-1 .Four-Yea,..PalAed 0.                                                                                                       ..CoMpourai 0                                         8% NirOdirfUreij
                               • .......                      ...                                                                                                                                                                                               ..                                 OA,   • V,
                 Case 1:21-cv-01061-KLM Document 1-1 Filed 04/16/21 USDC Colorado Page 59 of 73

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                                                                                                                Berkshire Lifeinsurance- Company of America.
                                                                                                                .Horne:Offidef.700.8oulh.S1reei, Pittsfield, MA81201
                                                                                                                •Aoihoily.cwiricid stock subsidiary of The7-Guardia n: Lite.
                                                                                                                Insuranas• Company.airkfueriak New Yr.% Ir NY

                          GUARDIAN'

                         STUDENT LOAN PROTECTION RIDER tNgURANCE SUPPLEMENT
                           SECTION 1: PROPOSED INSURED:INFORMATION
                           A. First Name                                                  Mitid3s.initlai         Last Marne                                                          Suffix.
                                                                                                                                                                           .a.       .z .


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                           C. Whets the bighest.edUaltkinal degree yeti currently hold or are pursuingl
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                          SECTION 2: COVERAGE.APPLIED FOR                                                                                              VIWAS.     V.4•••



                          A. Monthly Benefit Amourit::$         rfs-oe:a,
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                          B. EIimIEta6on PetiOti!                   ;.Eiti Days. i.: 1.1801DayS

        0                . C. Benefit Torn);                    I   10Yeare L1•15:Yeiirs
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        ce)              . SECTION 3: .OTHER STUDENT LOAN COVERAGE
        (0                                                                                                                                                                                      .   .
        ;7                A. 0111a-than coverage requested by this agOicafioni.desclibe41:O.Isabliity:insunancesforyour student €oan(s) in force...applied for: or
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                                 5. .1s1his zoverage.Deing.raplaced?       1i 1Y4g i •:tia                                                i ;,..
                                                                                                                                            r -:: `Fes. • 'I No'
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                                    If yes, date to be.replaced:                     • Date •(nit'aril<firnY13 .. . ... .. .i'         : Date (rriiniddsyyyg
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                               6_,hknour:i to be replaced                              e•                                              1.$




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                          SECTION 4:.STUDENT LOANINFORMATION....                                 .......... . .
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                          A.     your.stutferitioan(s).s        binding.loan agreernent(s'i.thet*iclutiet ttieterres-Of your •Nrinribiel
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                              while' you:attend. or attended a degree-grantingilostitutota                  . ..      .. — . . .<    . ...                   •      •-!•:.•q! Ye: I..J1\lb•

                         :L). Was..your student loan(s)rsocured.fromi.a-chartered bank. tendihoinstitutiori 64.idelovetritnittit•firot.rtire,
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                                                                                                                                                            61 of 68
                                                          Life Customer Service Office                     Disability Customer Service Office
                                                          6255 Sterner's Way                               700 South Street
                                                          Bethlehem, PA 18017-9464                         Pittsfield, MA 01201

                                                          ❑ THE GUARDIAN LIFE INSURANCE COMPANY OF AMERICA
                      GUARDIAN                            ❑ THE GUARDIAN INSURANCE & ANNUITY COMPANY, INC.
                                                          El BERKSHIRE LIFE INSURANCE COMPANY OF AMERICA
                                                                     (Please check appropriate cornpany(ies). Any insurer checked above
                                                                                   is herein referred to as the 'Company?)

                                                 Representations to the Medical Examiner (Part 2)
                                         This a lication is to be attached to and made •art of the •olic .
                      PROPOSED INSURED INFORMATION
                      Please print:
                        1a. First Name ANNA                                                 MI F        Last Name SCHUBERT
                           b. Date of Birth (mm/dd/yyyy)                            9   8   9

                           c. Name and Address of your personal physician. If none, so state.
                               NOVANT HEALTH WOMANCARE
                                114 CHARLOIS BLVD, WINSTON-SALEM, NC 27103, USA, PHONE: 336-765-5470
                           d. Date and reason last consulted
                           e. What treatment or medication was given or recommended? PRESCRIBED... (SEE SUPPLEMENT)
                           f. Weight change past year: 0 Gain     El Loss                   L: 15      lbs.
                              Reason for change: (SEE SUPPLEMENT)

                                           (If you answer "Yes" to questions 2-15, provide details in item #16 on the next page.)

                      2.      Have you ever had or been treated for cancer or tumor?
                      3.      In the last ten years, have you had, been treated for or received a consultation or counseling for:
                                    i. high blood pressure, chest pain or disorder of the heart or circulatory system?
                                ii. diabetes or disorder of the glands, bone, blood* or skin?
        rn
                                       *Disorder of the blood is any disorder of the red blood cells, platelets or hemorrhagic disorders.

        N
                                iii. complications of pregnancy, infertility, or any disorder of the breasts, reproductive or genital
                                     organs, prostate, kidneys, or urinary systems?
                               iv. hernia, hepatitis, or disorder of the liver, gall bladder, stomach, pancreas, spleen, intestines
                                   or rectum?
                                v. arthritis, rheumatism, or disorder of the joints, limbs or muscles?
                               vi. disorder or condition of the back, neck or spine?
                               vii. allergy, asthma, sinusitis, emphysema, disorder of the lungs or respiratory system, or
                                    sleep apnea?
                              viii. epilepsy, stroke, dizziness, headache, or disorder of the brain, or spinal cord?
                               ix. disorder of the eyes, ears, nose or throat?
                                x. anxiety, depression, nervousness, stress, mental or nervous disorder, or other emotional
                                   disorder?
                                xi. Chronic Fatigue Syndrome, Fibromyalgia, Epstein Barr virus or Lyme Disease?
                      4.      Do you have any loss of hearing or sight, an amputation of any kind, or any physical deformity,
                              impairment or handicap?
                      5.      Within the past ten years, have you been diagnosed by or received treatment from a member of
                              the medical profession for Acquired Immune Deficiency Syndrome (AIDS), AIDS Related Complex
                              (ARC)', or any deficiency of the immune system' such as Human Immunodeficiency Virus?
                              *AIDS Related Complex (ARC) is a condition with signs and symptoms which may include generalized lymphadenopathy
                               (swollen lymph nodes), loss of appetite, weight loss, fever, night sweats, diarrhea, malaise, lethargy and tiredness, oral
                               thrush, skin rashes, unexplained infections, dementia, depression, or other psychoneurotic disorder with no known cause.
                              "Deficiency of the immune system is any impairment of the body's natural defenses, which normally would provide a rapid,
                               specific, and highly protective defense against foreign microorganisms and subs ances

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                                                                                                                                         Yes No
                      6.            i. Are you currently taking prescribed medication?
                                ii. Are you currently taking non-prescription medication?
                       7.           i. Have you ever used stimulants, hallucinogens, narcotics or any other controlled substance?
                                ii. Have you ever had or been advised to have counseling or treatment for alcohol or drug use? .......
                                    (If yes, complete the Alcohol and Drug Usage Supplement.)
                       8. Are you now pregnant?
                          If yes, expected delivery date:
                       9.     Within the past five years, have you had a sickness or injury for which you have made a benefits
                              claim or for which you will make a benefits claim?
                      10. Within the past five years, have you had a physical exam or check-up of any kind?
                      11. Within the past five years, have you been advised to have surgery or any diagnostic tests that
                          were not performed, except for HIV tests?
                      12. Within the past 12 months, have you had symptoms of any condition listed, except those
                          conditions listed in question 5, for which you have not sought medical attention or advice?
                      13. Other than as previously stated on this Representations, in the last five years have you received medical
                          advice from physicians, medical or mental health professionals, counselors, psychotherapists, or other
                          practitioners, or have you been a patient in a hospital, clinic, sanatorium, or other medical facility?
                      14.           i. Have you smoked cigarettes in the past 24 months?
                                       (If you have quit, date last used:
                                ii. Have you used tobacco in any form in the last 12 months?
                                    If "No," have you used tobacco in any form in the last 24 months?
                                    If "No," have you used tobacco in any form in the last 48 months?
                                    (If you have quit, date last used:                             .)
                                iii. Do you currently use a nicotine patch or nicotine gum?
                      15. Do you have a family history of: diabetes, cancer, high blood pressure, heart disease, mental
                          illness or suicide?
                                                                    Age if                                                    Age at
                                                                    Living                    Cause of Death                  Death
                                FATHER                                66
                                MOTHER                                64
                               BROTHERS and SISTERS                   31
                              No. Living     2                        27
                              No. Deceased            0




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                      16. DETAILS OF "YES" ANSWERS. IDENTIFY QUESTION & NUMBER. CIRCLE APPLICABLE ITEMS:
                          Give diagnosis or symptoms, tests performed, dates, types and amounts of medication, length of disability, degree
                          of recovery, and names and addresses of all physicians, medical or mental health professionals, counselors,
                          psychotherapists, practitioners or hospitals. Additional paper may be attached if necessary to explain details.




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                      I understand and agree that the statements and answers in this Representations to the Medical Examiner are written as
                      made by me; to the best of my knowledge and belief are full, complete and true; and that they shall be a part of the contract
                      of insurance, if issued.
                      Any person who knowingly, and with intent to defraud any insurance company or other person, files an application
                      of insurance or statement of claim containing any materially false information or conceals, for the purpose of
                      misleading, information concerning any fact material thereto, commits a fraudulent insurance act, which is a crime,
                      and may also be subject to civil penalties.
                      Signed at                                                       this                      day of
                                                    City and State                                Day                           Month                 Year

                                                                                       Signed using Voice Technology on (03/14/2019) and ;12:10 Eastern Time).
                                                 Witness                                                Signature of Proposed Insured




                      C-MED-2003 NC
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                                                     Life Customer Service Office                        Disability Customer Service Office
                                                     3900 Burgess Place                                  700 Sourn Street
                                                     Bethlehem, PA 18017                                 Pittsfield, MA 01201

                       GUARDIAN'                     El THE GUARDIAN LIFE INSURANCE COMPANY OF AMERICA
                                                     0 THE GUARDIAN INSURANCE & ANNUITY COMPANY, INC.
                                                        BERKSHIRE LIFE INSURANCE COMPANY OF AMERICA
                                                              (Please check apptopriate corrpany(ies). Any insurer chedced above
                                                                            is herein referred to as the 'Company.")



                                            Supplement To Application For Insurance
                                                 This application is to be attached to and made part of the policy.

                       Proposed Insured   ANNA F SCHUBERT                                                        04/28/1989
                                                                                                                        Date of Birth:
                       Use this space to amplify and extend answers to questions in your application dated: 03/14/2019




                       I (We) represent that the answers as amplified and extended above are true and complete to the best of my (our)
                       knowledge and belief and are part of my (our) application to the Company as described above.
                       Any person who knowingly, and with intent to defraud any insurance company or other person, files an
                       application of insurance or statement of claim containing any materially false information or conceals, for
                       the purpose of misleading, information concerning any fact material thereto, commits a fraudulent
                       insurance act, which is a crime, and may also be subject to civil penalties.
                       Signed at                                                         this                 day of
                                                    City and State                                 Day                             Month                 Year

                                                                                                Signed using Voice Technology on (0314/2019) and (12:10 Easfem Time).
                                               Witness                                                            Signature of Proposed Insured


                                        Signature of AppiicantfOwner



                       C-AP-SUPP-2003                                                                    *IMNBOO1000020
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                                                     Life Customer Service Office                        Disability Customer Service Office
                                                     3900 Burgess Place                                  700 Sourn Street
                                                     Bethlehem, PA 18017                                 Pittsfield, MA 01201

                       GUARDIAN'                     El THE GUARDIAN LIFE INSURANCE COMPANY OF AMERICA
                                                     0 THE GUARDIAN INSURANCE & ANNUITY COMPANY, INC.
                                                        BERKSHIRE LIFE INSURANCE COMPANY OF AMERICA
                                                              (Please check apptopriate corrpany(ies). Any insurer chedced above
                                                                            is herein referred to as the 'Company.")



                                            Supplement To Application For Insurance
                                                 This application is to be attached to and made part of the policy.

                       Proposed Insured   ANNA F SCHUBERT                                                        04/28/1989
                                                                                                                        Date of Birth:
                       Use this space to amplify and extend answers to questions in your application dated: 03/14/2019




                       I (We) represent that the answers as amplified and extended above are true and complete to the best of my (our)
                       knowledge and belief and are part of my (our) application to the Company as described above.
                       Any person who knowingly, and with intent to defraud any insurance company or other person, files an
                       application of insurance or statement of claim containing any materially false information or conceals, for
                       the purpose of misleading, information concerning any fact material thereto, commits a fraudulent
                       insurance act, which is a crime, and may also be subject to civil penalties.

                       Signed at                                                         this                  day of
                                                    City and State                                 Day                              Month                 Year

                                                                                                Signed using Voice Technology on (0314:2019) and (12:10 Eastern Time).
                                               Witness                                                             Signature of Proposed Insured


                                        Signature of Appiicant/Owner



                       C-AP-SUPP-2003                                                                    *IMNBOO1000020
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                                                      Life Customer Service Office                        Disability Customer Service Office
                                                      3900 Burgess Place                                  700 Sourn Street
                                                      Bethlehem, PA 18017                                 Pittsfield, MA 01201

                       GUARDIAN'                      ❑ THE GUARDIAN LIFE INSURANCE COMPANY OF AMERICA
                                                      ❑ THE GUARDIAN INSURANCE & ANNUITY COMPANY, INC.
                                                        BERKSHIRE LIFE INSURANCE COMPANY OF AMERICA
                                                               (Please check appropriate corrpany(ies). Any insurer chedced above
                                                                             is herein referred to as the 'Company.")



                                            Supplement To Application For Insurance
                                                 This application is to be attached to and made part of the policy.

                       Proposed Insured   ANNA F SCHUBERT                                                        04/28/1989
                                                                                                                          Date of Birth:
                       Use this space to amplify and extend answers to questions in your application dated: 03/14/2019




                       I (We) represent that the answers as amplified and extended above are true and complete to the best of my (our)
                       knowledge and belief and are part of my (our) application to the Company as described above.
                       Any person who knowingly, and with intent to defraud any insurance company or other person, files an
                       application of insurance or statement of claim containing any materially false information or conceals, for
                       the purpose of misleading, information concerning any fact material thereto, commits a fraudulent
                       insurance act, which is a crime, and may also be subject to civil penalties.
                       Signed at                                                          this                  day of
                                                    City and State                                  Day                              Month                  Year

                                                                                                 Signed using Voice Technology on (03:1412019) and (12:10 Easfern Time).
                                               Witness                                                              Signature of Proposed Insured


                                        Signature of Appiicanit/Owner



                       C-AP-SUPP-2003                                                                     *IMNBOO1000020
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                                    Issued by Berkshire Life Insurance Company ofAmerica, Pittsfield, MA,
                                                      a wholly owned stock subsidiary of
                                       The Guardian Life Insurance Company ofAmerica, New York, NY.
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                                                                                      elBERKSHIRE LIFE INSURANCE COMPANY OF AMERICA
                                                                                      Home Office: 700 South Street, Pittsfield, MA 01201
                                                                                      A wholly owned stock subsidiary of and administrator for
                            b                           rdian                         The Guardian Life Insurance Company of America New York, Nv

                                                                                      O THE GUARD€AN LIFE INSURANCE COMPANY OF AMERICA
                                                                                      Administrative Office: 700 South Street, Pittsfield, MA 01201

                                                                                      (Please check aintropriate company. The insurer chedled above is
                                                                                      here,irl refenad to as Elie. "Company'.)


                           Policy Delivery Receipt

                            The Policy Owner(s) hereby acknowledge receipt, on the date indicated below, of Policy No.
                                 Z4163390                  for Disability Income           Insurance issued by the
                            Company(ies), insuring,Anna F Schttpart

                           The Policy Owner(s) understands that premium is being billed from the Policy Date indicated on the
                           schedule page of the policy, even though today is the first day that the policy will provide coverage if the
                           Policy Owner(s) pays the first premium today. The Policy Owner(s) understands that if the Policy Date is
                           earlier than today's date, the Policy Owner(s) may pay premium for a period of time during which the
                           policy did not provide coverage. The Policy Owner(s) understands that the Policy Owner(s) is not required
                           to pay premium for a period of time during which the policy did not provide coverage and that the Policy
                           Owner(s) may avoid paying such premium by having the Company change the Policy Date/Date of Issue
                           on the policy.

                           The Policy Owner(s) understands that the policy dating rules stated above do not apply to policy(ies)
                           where the dating rules are established by the terms of a Conditional Receipt.

                           The Applicantlinsured represents that the statements and answers in the application and any requirement
                           supplements or other documents required as part of the application for the policy were complete and true
                           when made, and that no changes have occurred that would make said statements and answers incorrect
                           or incomplete as of the present date, except as amended or modified In any amendment(s) attached
                           thereto.

                           Unless otherwise indicated in the space below, the Policy Owner(s) acknowledges receipt of this policy
                           delivered to the Policy Owner(s) in person by the insurance Representative. Other method of delivery:


                           The Policy Owner(s) hereby acknowledges the Policy Owner(s) has received a complete policy by
                           attesting it includes all 68     pages as indicated by the page numbers located at the front top right and
                           back top left corners of each page in the bound policy.


                                                                                                                  er
                           Signed at                    r\.)                                on        (4-V
                                                                   State                                       *mg; Day— Year

                                                    s     .    •      k•   7i                         .07
                           Delivered by                         ' • . .0 ,
                                                  Insurance ResWeeeenri'ftives Sfgrratire                  PokyOwnor's Signature



                                                                                                 Insured's Signature (if different then policy owner)




                          .Aa.I a:52f: (1/.1:s)
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              F Guardian-                                                              Berkshire Life Insurance Company of America
                                                                                       Home Office: 700 South Street, Pittsfield, MA 01201
                                                                                       A wholly owned stock subsidiary of The Guardian
                                                                                       Life Insurance Company of America, New York, NY




               DECLARATION OF INSURABILITY

                Proposed Insured: Anna F Schubert                                                         • Policy Number:    Z4163390
               For the policy identified above, I represent that since the date of the earlier of the Application for Insurance: Part II Health and
               Medical History, the Represeetetions to the Medical Examiner Pert 2, or the Application For Disability Insurance: Part I to Berkshire Life
               Insurance Company of America (the 'Application"). I have not:
                  1. had a physical exam or checkup d any kind;
                  2, been diagnosed. treated, or tested positive by a member of the medical profession, counselor, or professional of the
                     healing arts for any disease, illness, or injury;
                  3, received medical advice or counseling from any physician, medical or mental health professional, counselor, psychotherapist,
                     chiropractor, or other practitioner;
                  4. been a patient in a eospital, clinic, or other medical or mental health facility;
                  5. had any change in occupation, job title. duties, employment, income, residence, military status, or tobacco or nicotine use;
                  6. applied nor am I eligible for other life, disability or accident insurance;
                  7. had a professional license suspended or revoked, nor have I been notified of any pending investigation or complaint concerting
                     my professional license: or
                  8. filed for bankruptcy nor has any business i own or have owned filed for bankruptcy.
               In addition to the above representations. I further represent that: 1) as of today's date, I am actively at work on a full time basis at least
               30 hours per week performing the same duties and occupation(s) identified in the Application for Disability Insurance: Part I; and 2)
               there are no exceptions to the above representations other than as set forth below:
               Exceptions:




                , —
               This Declaration of Insurability does not require disclosure of medical, ₹inancial, occupational or other facts already provided
               by me, or about me, and which are stated in an amendment, or other forrn(s) attached to the policy or policies delivered to me.
               It is agreed that this Declaration: (1) shall be made part of the Application for the pol€cy identified above; and (2) is made to
               induce Berkshire Life Insurance Company of America to deliver said policy to the owner.
               Signed at City, State                                           Todayie Date (frijn(ddiym)
                                                                                                     t•
               SignaturelPfoixteed insured


               1)1structions to the Producer:         policy must not be delivered if there are any exceptions noted above. If there are no exceptions
               to the above representations: 1) make sure that. Proposed Insured signs arid dates where indicated; 2) attach a completed copy to ₹he
               ooiicy; and 3) forward the original to the Home Office immediately with any other reporting requirements. Delivery of the policy must be
               sithheid and the policy returned to the Home Office if: t) there are any exceptions to the above representation; or 2) this form is not
               ;lime by the Proposed inst red.
                                        Ii

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             ICC18 2986.2.016                                                    Pane 1
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                  AMENDMENT TO APPLICATION                                                        It is agreed that these amendments and
                                                                                               declarations are to be taken and considered
                                                                                               a part of said application, and subject to the
                  This Amendment is made a part of Policy No. Z4 163390 to which it            representations and agreements therein,
                  is attached and becomes of     on the Policy Date.                           and that the said application and these
                                                                                               amendments are to be taken as a whole and
                  It is hereby requested that the application for insurance made to            considered as the basis, and form part of
                  Berkshire Life Insurance Company of America en 2/19/2019 he                  the contract or policy issued thereon.
                  amended as follows:
                                                                                                   €t is further represented that the
                  Question No. 9:                                                              statements and answers in said application
                                                                                               Were comp:₹ate and true when made and that
                       "By signing below, I certify that I have read, agree to, and            no changes have occurred which would
                       confirm all of the representations and information provided by me       make said statements and answers incorrect
                                                                                               or incomplete as of the present date.
                       in the Representations to the Medical Examiner (Part 2) which
                       was signed by roc using my voice authorized signature and is               The undersigned declare that a duplicate
                       attached to the policy issued to me, as of the date of my signature     copy of the foregoing amendment to
                       below."                                                                 application is attached to the policy.

                  Application for Disability Insurance - Individual Disability Insurance
                  Supplement

                  Question No       .C7

                       Occupation Class: "3M"

                  Question No. 1.D:

                       Is this part of an Approved Employee Multi-Life Program (unisex
                       rates)? "No": "No"
                  Question No. 2.C.4:

                       Increase Option - Future Increase Option - BenefitAmount:
                       "S13,500.00"
                  Question No. 2.C.5:
                       Mental and/or Substance-Related Disorders limitation: "24
                       Month"
                  Student Loan Protection Rider Insurance Supplement
                  Question No. 2.B:

                       Elimination Period: "180 days"
                  Pan 2 Medical Application
                  Question No. 16:


                                                                                               Date                s cs.. S / V


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                                                                                                 nria F Schubert   Insured

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                                                          Exhibit 1




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                 THIS
                    fr IS— A DUPLICATE
                                "- e:42g" POLICY ISSUED ;1
                                                        IN 'LIEU OF
                                                                  1' , •LOST
                                                                         4-1-1.' POLICY NUMBER 24163390
                                                                                                  N, 4 • ORIGINALLY
                 ISSUED APRIL  -. 27, 2019.
                                          —e.
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                PITTSFIELD,   MASSACHUSETTS                                      7.1:1 NSURANCE COMPANY OF AMERICA
                April 5, 2021
                  Jr                 . ;101. „                M--;AS •
                Irt,
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